Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 1 of 135

United States Courts
Southern Disirict of Texas

IN THE UNITED STATES BANKRUPTCY COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS MAY 01 2023
HOUSTON DIVISION
‘Nathan Ochsner, Clerk of Court
In Re:
Tehum Care Services, Inc., No: 23-90086 CML
Debtor. Chapter 11
Anant Kumar Tripati,
Plaintiff,
Vs

Sara Tirschwell; Valitas Intermediate Holdings Incorporated, a Delaware
Corporation; M2 HoldCo LLC, a Florida Limited Liability Co; M2 LoanCo LLC, a
Florida Limited Liability Co; M2 EquityCo LLC, a Florida Limited Liability Co;
Becken Petty O’Keefe, a Delaware Corporation; Wexford Health Sources, Inc;
Weber Gallagher Simpson Stapleton Fires & Newby LLP; Jones Skelton
Hochuli ; Corizon Inc Provider ;Quintairos Prieto Wood & Boyer ;Nichole Rowey
;Joseph Scott Conlon ;Renaud Drury Cook Mesaros PA ; Kelly Joan Morrissey
;Diane Boschuweicz ;Betty Ullibari ; Centurion Of Arizona ;Sarah L Barnes
;Broening Oberg Woods & Wilson PC ; Michael E. Gottfried ; Daniel P. Struck
Attorney ;Struck Wienke & Love PLC ;Paul Carter ;Daryl Johnson Julia Erwin
;Lori Metcalf ; Evanston Insurance Company; Lexington Insurance Company
Zurich American Insurance ; merican Zurich Insurance Company ;Columbia
Casualty Company ;Scottsdale Insurance Company ; Coverys Specialty
Insurance Company ; Hartford asualty Insurance Company ;Liability Insurers
For Weber Gallagher unknown at this time.; Liability Insurers Jones Skelton
unknown at this time.;Liability Insurers Renaud Drury unknown at this
time.;Liability Insurers Quintairios Prieto unknown at this time;.Liability
Insurers Broening Oberg unknown at this time.;Liability Insurers Struck
Wienke unknown at this time.Liability Insurers Gottfried Morrissey Carter
unknown at this time

Defendants.

VERIFIED ADVERSARY COMPLAINT BY ANANT KUMAR TRIPATI

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 1 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Pagé 2 of 135

Anant Kumar Tripati hereinafter “Tripati”) files this adversary complaint and
declares under the penalty of perjury that these facts are true and correct, and if

called in to testify, he shall and will do so:

TABLE OF CONTENTS
The Attempt To Meet And Confer.............cccccsssseccsssecccsssccecessececcsecsseseceeesseceesenseessaecess 3
How The Scheme To Fraud Designed By Corizon Worked............:ccceccecsssesecescesseceeees 3
The Injury I Sustained ............cccccccesssscccecesssscetescessscescusecsssaucesecseneeecesssseeeeetesseceeees 4
Compliance With Rule 11.......... vase devecceceuecececeesceueucescusscesecssecesccurseccecsaueecenssnteseaeuaesseecces 5
Those Who Participated In The Activities ...........cccccccssscssscssecsssssssssssessssessscseesseeeaeserens 9
The Monies That Corizon And Others Misappropriated ............ccccccsesesecesescceeeseceenees 13
Resjudicata And Estoppel.........ccccccsscccsseccsssesescesssecssscsssssscssseccsussesvsesesecsesesaeeesarecaeees 13
Jurisdiction And Jurisdiction Based On Spoliation ........cccccccssecsecssscessececeeceseeesceesaes 16
How The Correctional Healthcare Enterprise Works ............c.ccccsccsssssccsesceceseccessnsees 18
The Role Of Valitas In Financing Healthcare Entities That Defraud The
COMMUNILY... eee ccesececsssseesssusessseeecsseecesseeececsceececsuseccseesccessuseeccesseceeasesesenecestatecstaress 18
Fraudulent Statements Corizon Makes To Induce Entities Into Providing Corizon
With Montes... eeeeecceccsessessesssesssessecssecseseseesseecesseesseuscssscesssssesesenessucseeecsecsenueeasears 48
About Corizon Health Corizon ........cccccccccccsssessscessecssscsssscssscssssssesccsscesscesacstarececeaeeas 52
Choosing Corizon Health......ccccccssssscssssesesseccesssccesscesscssscseccscsecseecaseaaesessseaeceuseeausasees 53
Benefits Of Our Services .00.....c.cceccescssscsssessessccssessssesessccssssscsvsessscssssaseaeesessaseasersseaseaes 54
Vendor Diversity Program (Vdp) Description ..........cccccccscesccessseseececescecsceccssecensceseees 57
More Jurisdictions Don’t Renew Corizon Contracts —Including Big Loss In New
YOLK City oo... eececcscecssseesstesescesssecsstecssesesecscsssscstauccasecsaseceuacesresesuacensceguaseeuscesssessuassaes 59
Wexford Health Sources Was Prior To Corizon And It Used The Corizon Model
Resulting In The Contract Cancelled .........c.ccccccssccsssssssessscssecssscessesarecaseeeueeaueesecseenes 75
Centurion Follows Corizon And Is Preceded By N aphcare Using The Corizon Model
wotesenensuatecnnsnsennceresvaonsssauesuseueteseccesssacesassneesausesstsevesesseverensasacessesesescasssesssnssesseassecenssseaeecres 93
Naphcare Follows Centurion Using The Corizon Model.........:ccccccsccessessesesssecsescsseses 98
Allegations Common To All Schemes .0.......cccccscesccsscesscescesscescesecsscseccscsscssscseseneeees 109

_ ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 2 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 3 of 135

The Bankruptcy Fraud Scheme By CoriZon...........:cccccssscccessssscccesscssneceeessenneesessanes 110
The Scheme To Perpetate Fraud By Defendnts................cccccsccccesssseeeessssensersessneees 112
The Scheme To Prevent Presentation Of Evidence By Defendants................cc06 118
The Practices Of Liability Insurers .................::scsssssececeeeeseeessesneeaeeeeceeseesesssnsanseeecens 124
The Pattern Of Racketeering Activity ............cccccccccceseceeeeceeeeceeeeeeeseeeeeceseeceeseesecseeenss 125
First Claim For Relief............ccccccsscccessseccessececsssaceeecsenecseeeeecseeeecsseeeeseaeeeseeuecessneeesenees 128
Second Claim For Relief .............ccccessssssssesseseessscessseessscessceecsaceeensesseeceusessnesseneesenesees 131
Prayer For Relief................cccccsssshscsececceeeceseesesssescanssseecececsecseseseausueeeseecaeesessssansnseeees 133

THE ATTEMPT TO MEET AND CONFER

1. Before I filed this adversary complaint, I contacted counsel by letter, and asked him to
meet and confer, telephonically. I gave him the contact address for the email. He failed,

thereby forcing me to file this complaint.

HOW THE SCHEME TO FRAUD DESIGNED BY CORIZON WORKED

2. Billions of dollars have been allocated by the United States during the COVID. Corizon,
an entity owned by Valitas ,Becken O’Keefe, obtained these funds. They however did not
use these funds for the purposes intended.

3. They gave their management bonuses, but the staff in the prisons got nothing.

4. Corizon did this in every prison or jail, they have had contracts in.

5. Wexford, Centurion and Naphcare did exactly what Corizon has done, but unlike
Corizon, they have not filed for bankruptcy.

6. Though Corizon has never maintained its principal place of business in Texas, it decided
to restructure in Texas for the explicit purpose of defrauding the United States, creditors

and prisoners.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 3 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 4 of 135

7. Corizon hired lawyers to help it perpetrate the fraud and obtained legal advice,
unbeknown to these lawyers, for the success of its scheme. United States v Ballard, 779
F.2d 887(5® Cir. 1986) (communication not privileged when used to perpetrate crime.)

8. The liability insurers provided Corizon with substantial assistance, because they did not
follow their policies and industry practices, in dealing with claims, involving Corizon and
other Defendants.

9. Judge Stanley Sporkin in Lincoln Savings & Loan Assn. v. Wall, 743 F.Supp. 901 (DC
1990) wanted to know “where were these professionals ...when these improper
transactions were being consummated? Why didn’t they speak up?

10. Attorneys, compliance officers, auditors, all did not follow their professional standards,

and looked the other way, thereby aiding Corizon in its activities.

THE INJURY I SUSTAINED

11. As a consequence of the scheme I was unable to have the Third Circuit, Ninth Circuit,
District of Arizona, Arizona State courts, review my spoliation claims against
Defendants, their agents, employees and subordinates. The attorney and the law firm
Defendants devised and implemented a scheme and or policy outside the adversarial
process, to engage in spoliation of evidence in prisoner cases, which could not be review,
because of the bankruptcy filing. As I was a witness in my cases, due to the retaliation
against a witness, I was prevented from presenting that evidence, in official proceedings
under federal law, in state and federal courts. The liability insurers by making policy
exceptions in prisoner cases, allowed Defendants to engage in the misconduct.

12. Defendants deprived me and others of a benefit, defined as anything of value or

advantage, present or prospective, under ARS 13-105.5 the tangible evidence or

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 4 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 5 of 135

intangible rights to have the court decide my claims on spoliation based on all the
evidence, is property within the meaning of ARS 13-105.37, which Defendants deprived
me of. All this was accomplished through the system of emails, through computer
networks, and the use of the United States Mail.

13. By obstructing justice, acting in a manner to obstruct justice, to influence the due
administration of justice, interfering in the administration of justice, with specific intent
to corruptly influence, impede or obstruct the administration of justice by implementing
the policy of making others lie, as set forth in this complaint, Defendants injured me.
They foresaw the evidence was for use in official proceedings for violation of federal
rights, satisfying the federal nexus set forth in United States v Causey, 183 F3d 407(5"
Cir. 1999)Their corruption included the concealment of evidence, submission of false
statements under penalty of perjury, and making false statements in this bankruptcy and

judges deciding federal claims.

COMPLIANCE WITH RULE 11

14. The matters that I assert in this verified complaint are well grounded in facts and
warranted by existing law. There is good faith argument for the extension, modification,
or reversal of existing law.

15. Before I filed this complaint, I contacted counsel, to meet and confer. I attempted to
comply with BR 9011.

16. These matters have not been asserted in bad faith. They are not made for vexatious,

wanton, improper, or oppressive reasons.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 5 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 6 of 135

17. They are not designed to harass, to create unnecessary delay, to impose a needless
increase in the cost of litigation, or t force an unjust settlement through the serious
character of these averments.

18. The activities of the Defendants in the formation and execution of the scheme to defraud

19. Had a pervasive, debilitating, ultimately fatal impact on Corizon’s effort to function as a
prison healthcare provider, as well as my litigation against Defendants, due to spoliation.

20. Assets were not only diverted, but were not available for use by Corizon.

21. Because of this Corizon failed.

22. In connection with the activities giving rise to this action, the Defendants acted with
malice, insult, intent and knowledge, and with a wanton and reckless disregard of the
rights of Coriozn and myself.

23. The complaint alleges, inter alia, violations under the Organized Crime Control Act of
1970, Public Law 91-452, Section 901(a), 84 Stat 941, Racketeer Influenced Corrupt
Organizations (RICO), and is brought by me, in connection with as scheme devised,
conducted, and/or participated by Defendants, each of whom was employed by or
associated with the Correctional Health enterprise, through a pattern of racketeering
unlawful activity, and to conspire to do so, and to wrongfully and unlawfully divert assets
of Correctional Health, and to conspire to do so, all to my detriment.

24. The United States District Court in Arizona has found I Parsons v Ryan that:

25. "Defendant Shinn is satisfied with a system that presents a substantial risk of serious

harm. That is almost a perfect illustration of ‘deliberate indifference.” (p 111@ 24-26)

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 6 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 7 of 135

26. Accordingly, it can be assumed that it was clear to Defendant Shinn at the time of the
contract renewal that Centurion had significant concerns regarding its performance. (pp
111 @ 8-10)

27."The fundamental conclusion is that ADCRR prisoners who develop life threatening
medical conditions are at significant risk of serious harm. The ones that do develop such
conditions may die prematurely, suffer prolonged pain or die. The risk is applicable to all
prisoners because anyone is susceptible to serious injury or illness at any time...no
prisoner, at any location, is safe.” (pp 122 @ 14-20)

28. “Defendant Shinn’s testimony also made clear he has adopted a strategy of pretending the
problems he knows about do not exist.” (pp 111@ 17-18)

29. "Moreover specifically, Centurion apparently realized it would not be able to perform
adequately and significant contempt fines were: likely. To avoid catastrophic liability,
Centurion ensured ADCRR would bear the brunt of nonperformance.. Shinn simply
agreed to limit Centurion’s liability and insulated it from meaningful consequences for its
failures” (pp 111 @ 10-16)

30. "In essence, it is Defendants’ position that access to any care, no matter how poor,
satisfies their constitutional obligations.” (pp 29 @ 2-3))

31. "The question is whether the policies and procedures create a risk of harm to...prisoners.
There is no question they do" (pp 117@21-23)

32. “Are Defendants violating the constitutional rights of Arizona’s prisoners...? The answer
is yes...” (pp 1 @ 26 to 2 C3)

33. Dr. Jordan testified medical schools do not teach the type of healthcare issues prisoners
have, which are very bad. (pp 16 @ 21-28)

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 7 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 8 of 135

34.“In Dr. Wilcox’s expert opinion “the poor quality of clinical decision-making
demonstrated by nurses and providers in the ADCRR harms patients and places them at
an unreasonable and substantial risk of serious harm.” (pp 28 @ 10-14

35. “The current staffing levels illustrate ADCRR does not have the ability to address the
varied and other complex needs of Arizona prisoners” (pp 22 @ 1-2)

36. “Defendants have failed to provide, and continue to refuse to provide, a constitutionally
adequate medical care....Defendants have been aware of their failures for years and
Defendants have refused to take necessary actions to remedy the failures. Defendants’
years of inaction, despite Court intervention and imposition of monetary sanctions,

_ establish Defendants are acting with deliberate indifference.” (pp 2 @ 4-11)

37. Nursing Encounter Tools referrals by provider to Utilization Management and the
responses, etc. (pp 13@ 12 -14 @ 18)

38. “Defendants have failed to provide, and contitme to refuse to provide, a constitutionally
adequate medical care....Defendants have been aware of their failures for years and
Defendants have refused to take necessary actions to remedy the failures. Defendants’
years of inaction, despite Court intervention and imposition of monetary sanctions,
establish Defendants are acting with deliberate indifference.” (pp 2@ 4-11)

39. Nursing Encounter Tools referrals by provider to Utilization Management and the
responses, etc. (pp 13@ 12-14@ 18

40. Dr. Wilcox was asked if he was “aware of any other health care settings where the nurse
serves as the final decider when someone seeks to access their doctor.” He responded
“No.” Considering that it’s not really legal, you wouldn’t expect to find any others. But,

you know, can you imagine in the community if you schedule an appointment with your

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 8 of 135
41.

iii.

iv.

Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 9 of 135

doctor and you’re met in the lobby by the nurse who does a little assessment on you and

then turns you around and sends you home and you’re not allowed to see your doctor?
That just doesn’t exist in the scope of healthcare anywhere” (pp 28 @ 15-20)

“The majority of medical staff do not have the necessary training or licensure to provide
the type of care that is necessary to provide constitutionally adequate care... The patterns

of delay and indifference are pervasive.” (pp 69@ line 22-26

THOSE WHO PARTICIPATED IN THE ACTIVITIES
Sara Tirschwell; 205 Powell Place, Brentwood, TN 37027

Valitas Intermediate Holdings Incorporated, a Delaware Corporation;
205 Powell Place, Brentwood, TN 37027
M2 HoldCo LLC, a Florida Limited Liability Co; James D. Gassenheimer,
1450 Brickell Avenue, Suite 1900, Miami, FL 33131
M2 LoanCo LLC, a Florida Limited Liability Co; J ames D. Gassenheimer,
1450 Brickell Avenue, Suite 1900, Miami, FL 33131

M2 EquityCo LLC, a Florida Limited Liability Co; James D.
Gassenheimer, 1450 Brickell Avenue, Suite 1900, Miami, FL 33131
Becken Petty O’Keefe, a Delaware Corporation 131 South Dearborn St #
2800, Chicago, IL 60603
Wexford Health Sources, Inc; provider 501 Holiday Drive, Pittsburgh, PA

15220 sued individually and offcially

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 9 of 135
viii.

Xvii.

xviii.

Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 10 of 135

Weber Gallagher Simpson Stapleton Fires & Newby LLP; Attorney 2
Gateway Ctr Pittsburgh PA 15222 attorney for Wexford sued individually
and offcially

Jones Skelton Hochuli Attorney 1 N Central # 900, Phoenix, AZ 85004
sued individually and offcially

Corizon Inc Provider 103 Powell # 104, Brentwood, TN 37027
Quintairos Prieto Wood & Boyer PA Attorney 8800 E Raintree # 100
Scottsdale, AZ 85260 sued individually and offcially

Nichole Rowey Attorney 8800 E Raintree # 100 Scottsdale, AZ 85260
sued individually and offcially

Joseph Scott Conlon Attorney 40 N Central # 27700 Phoenix AZ 85004
sued individually and officially

Renaud Drury Cook Mesaros PA Attorney 40 N Central # 2700 Phoenix
AZ 85004 sued individually and officially

Kelly Joan Morrissey Attorney 2005 N Central, Phoenix, AZ 85004 sued
individually and officially

Diane Boschuweicz SHINNEMPLOYEE 1601 W Jeffferson Phoenix AZ
85007 sued individually and officially

Betty Ullibari Paralegal 1601 W Jeffferson Phoenix AZ 85007 sued
individually and officially

Centurion Of Arizona Porvider 1850 E rio Salado Way, # 209, Tempe, AZ

85284

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 10 of 135
XXiil.

XXIV.

XXVil.

Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 11 of 135

Sarah L Barnes Attorney Attorney 2800 N Central Phoenix AZ 85004
sued individually and officially

Broening Oberg Woods & Wilson PC Attorney 2800 N Central Phoenix AZ
85004 sued individually and officially

Centurion LLC Provider 7700 Forsythe Blvd St Louis, MO 63105
Michael E. Gottfried Attorney 2005 N Central, Phoenix, AZ 85004 sued
individually and officially

Daniel P. Struck Attorney 3100 W Ray Rd # 300 Chandler, AZ 85226
sued individually and officially

Struck Wienke & Love PLC Attorney 3100 W Ray Rd # 300 Chandler, AZ
85226

Paul Carter Attorney 416 W Congress # 20 Tucson, AZ 85701 sued
individually and officially

Daryl Johnson Monitor 1601 W Jeffferson Phoenix AZ 85007 sued
individually and officially

Julia Erwin Monitor 1601 W Jeffferson Phoenix AZ 85007 sued
individually and officially

Lori Metcalf Attorney 8800 E Raintree # 100 Scottsdale, AZ 85260 sued
individually and offcially

Evanston Insurance Company, 10275 W Higgins Rd # 700, Rosemont, IL

60018-6408 is liability Insurer for Wexford.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 11 of 135
XXX.

Xxxii.

XXXii.

XXXIV.

XXXVii.

XXXVili.

Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 12 of 135

Lexington Insurance Company 99 High Street, Floor 24, Boston MA
02110-2378 is liability Insurer for Corizon

Zurich American Insurance 1299 Zurich Way, Schaumburg, IL 60196-
1056 Company is liability Insurer for Centurion
American Zurich Insurance Company P.O.Box 968046 Schaumburg, IL
60196-8046 is liability Insurer for Centurion

Columbia Casualty Company 151 N Franklin St, Chicago IL 60606-1915
is liability Insurer for Centurion

Scottsdale Insurance Company 8877 N gainey Center dr. Scottsdale, AZ
85258 is liability Insurer for Centurion

Coverys Specialty Insurance Company 1 Financial Center 13 Floor,
Boston MA 02111 is liability Insurer for Centurion

Hartford Casualty Insurance Company One Hartford Plaza, Hartford, CT
06155 is liability Insurer for Ullibarri.

Liability Insurers For Weber Gallagher unknown at this time.

Liability Insurers Jones Skelton unknown at this time.

Liability Insurers Renaud Drury unknown at this time.

Liability Insurers Quintairios Prieto unknown at this time.

Liability Insurers Broening Oberg unknown at this time.

Liability Insurers Struck Wienke unknown at this time.

Liability Insurers Gottfried Morrissey Carter unknown at this time.

Beecken Petty O’keefe & Company

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 12 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 13 of 135

THE MONIES THAT CORIZON AND OTHERS MISAPPROPRIATED

42. During the period January 2020 through January 2021 Corizon obtained funds authorized
by 12 USC 4703a; 15 USC 636; 15 USC 9001; 15 USC 9009a; 15 USC 9011; 15 USC
9051; 21 USC 21516; 22 USC 4801; 42 USC 234; 42 USC 603; 50 USC 4532; amongst
others, for the 25 contracts cancelled.

43. In the applications to obtain these funds and subsequent reports on how these funds were
used, they made materials misrepresentations, that the funds were not used, as
represented, but were given as bonuses to executives, and misappropriated by senior
staff.

44. RELEVANT TIMES

45. The relevant times are March 19, 2019 to date. In May 2018 I received CDS/DVDS from
counsel and this is the first time that I saw documents that reflect the concealment of
evidence, a subject matter of this case. In no uncertain terms the documents that I read
in these CDS/DVDS from Weber Gallagher, Wexford, Corizon, Centurion, Gottfried,
Carter, Morrissey, CENTURION LLC Klausner, Struck and others, direct lawyers, not
to disclose evidence to prisoners, and to use every procedural device to frustrate prisoner
litigation. I requested and was denied names of the liability insurers. However in May

2021 I received the names of the insurers from the ADCRR.

RESJUDICATA AND ESTOPPEL

46. The evidence that I read were not presented to the judges in the
cases that I filed for had they been presented, I would have prevailed in
the litigation. No judge has ever ruled that Defendants did not conceal

evidence. Concealment of evidence is not the same as failure to present

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 18 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 14 of 135

evidence. One cannot present evidence that is concealed. As Defendants
concealed the evidence, I and other inmates could not present these.
These evidence could not be presented prior to May 2018 as I did not
have these. In March 2019 Ullibarri seized these evidence and through
March 2020, I could not review whatever I had, by orders of Erwin,
Boschuweicz and Ullibarri. Jonathan Kinser took my notes and paper
copies of documents I had, from sealed boxes. This is why they were not
presented.

47. I also read in these CDS/DVDS motions for sanctions, responses,
letters, about 70 settlement agreements nationwide, involving Wexford,
Corizon, Centurion, CENTURION LLC in Pennsylvania, New Jersey,
Illinois, Florida, New Mexico, Georgia and other states, and ADOC in
Arizona, where concealment of evidence was alleged, and sanctions
imposed.

48. The claims are not barred as the concealed inculpatory evidence

. would have changed the results. Whenever factual and legal issues are
not the same as to the case at hand, res judicata and collateral estoppel
do not apply. Extreme applications of the doctrine of res judicata may
be inconsistent with a federal right that is “fundamental in character”
The systemic concealment of evidence, and fabrication of defenses have

not been previously litigated.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-
90086 (CML) Page 14 of 135.
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 15 of 135

49. Ullibarri has since 1998 been on contract with Ryan Shinn, though
she is the most list qualified. Ullibarri has an associate degree in
paralegal. That is what has qualified her to be the person whom
inmates contact for assistance. She has the contract because there is an
informal understanding with Ullibarri, that she must convey
privileged information to Carter, Gottfried, Morrissey, Ryan and Shinn,
concerning inmate legal materials /strategy. To give
Ryan/Shinn/Corizon/ Centurion/ Wexford an unfair advantage. those
more qualified have been refused the contract, as they refuse to violate
this privilege, and refuse to convey inmate confidential information to
Defendants. She has had more than 4,000 complaints about violating
attorney client privilege, impeding inmate access, conveying inmate
privileged information to prison authorities, covered up by Carter,
Gottfried, Morrissey, Johnson, Erwin, Dossett, Boschuweicz, Glynn,
Klausner, Ryan and Shinn.

50. In March 2019 upon the orders of Boschuweicz, Erwin, Glynn,
Dudley, Ryan and others, Ullibarri took 35 CDS/DVDS with privileged
documents, kept these for 79 days, and 14 of these are missing. She took
this as agent of Weber Gallagher, Wexford, Corizon, Centurion, Gottfried,
Carter, Morrissey, CENTURION LLC, Klausner, Struck and others.

Sl. had reviewed about 3 DVDS and took extensive notes from the
about 9 gigabytes of documents that I had reviewed in these 3

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 15 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 16 of 135

CDS/DVDS. Jonathan Kinser took these notes, along with a folder with
about 300 documents, from 19 sealed legal boxes. These boxes were
sealed after they were inspected for contraband by Shelby Negron,
pursuant to prison policy, and pursuant to policy they were not to be
opened, except by me, in my presence.

52.On April 20, 2020 Boschuweicz advised me that these 14 CDS/DVDS
and documents were given to Erwin and Glynn, and their contents
discussed with Gottfried, Carter and counsel for Corizon, Centurion and
Wexford, by orders of Ryan. Shelby Negron advised me that documents
on Wexford were mailed to Wexford in Pittsburgh by Negron as ordered

by Boschuweicz.

JURISDICTION AND JURISDICTION BASED ON SPOLIATION

53. As this is a core proceeding within the meaming of 28 USC §157(b), 28 USC § 1334
confers jurisdiction. 18 USC § 1964(a)(c), 28 USC § 1332,, 28 USC§ 1337, ARS §13-

2314.04.A also confer jurisdiction.

54. Iam a British Citizen born in Fiji and Defendants of Arizona, Tennessee, Pennsylvania,

Missouri, and Texas. The amount in controversy, exclusive of interest and costs, exceeds

$250,000.

55. The Supreme Court has held when documents have been destroyed, the Plaintiff has been

deemed to have established personal jurisdiction. Ins. Corp. v. Compagnie des Bauxites,

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 16 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 17 of 135

456 U.S. 694 (1982) (affirming order that imposed sanction of deeming personal

jurisdiction established) and the Circuit courts are split on this issue.

56. I did not choose this forum. By filing protection under Chapter 11, Defendants, waived
jurisdiction of this court to grant me relief on my claims as they are alter egos of each
other, have acted in concert with each other, have abused their corporate form, used the
corporate structure as a mere instrumentality for fraud and wrongs against me, as set forth

in this complaint, in Arizona, in this court and other venues.

57. The corporate structure is a mere instrumentality by Defendants at all times, to perpetrate
fraud and engage in racketeering. The mere instrumentality is evidenced by Correctional
Health maintaining a common, same and or similar business structure, policy, using a
joint defense in all cases involving prisoners, restructuring in Texas for the purpose of
defrauding prisoners and precluding federal courts from reviewing claims of violation of
federal rights.Pre-litigation destruction of evidence is a recurring issue which is subject
to sanction under Chambers v. NASCO, Inc., 501 U.S. 32, 35 (1991). Circuit Courts of
Appeals are—and have long been---in direct conflict with The Pizarro, 15 U.S. (2

Wheat.) 227 (1817) and its protégé..

58. The first Act occurred after 1970 and the last act, within four years of the prior act.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 17 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 18 of 135

HOW THE CORRECTIONAL HEALTHCARE ENTERPRISE WORKS

THE ROLE OF VALITAS IN FINANCING HEALTHCARE ENTITIES THAT

DEFRAUD THE COMMUNITY

59. Corizon, the nation’s largest for-profit medical services provider for prisons, jails and
other detention facilities, was formed in June 2011 through the merger of Prison Health
Services (PHS) and Correctional Medical Services (CMS).

60. In April 2013, the debt-rating agency Moody’s downgraded Corizon’s nearly $360
million worth of debt to a rating of B2 — an indication the company’s debt is highly
speculative and a high credit risk. According to Moody’s, the rating downgrade was due
to an “expectation of earnings volatility following recent contract losses, margin declines
from competitive pricing pressure on new and renewed contracts, and Moody’s belief
that Valitas [Corizon’s parent corporation] will be unable to restore metrics to levels
commensurate with the prior B1 rating over the near to intermediate term.”

61. Valitas Health Services is majority owned by Beecken Petty O’Keefe & Company, a
Chicago-based private equity management firm. Beecken’s other holdings are primarily
in the healthcare industry.

62. On September 23, 2013, Moody’s again downgraded Corizon’s debt rating and changed
the company’s rating outlook from “stable” to “negative.” The following month Corizon
announced that it had replaced CEO Rich Hallworth with Woodrow A. Myers, Jr., the
former chief medical officer at WellPoint Health. Hallworth, who had been appointed
Corizon’s CEO in 2011, previously served as the president and CEO of PHS. At the same

time that Hallworth was replaced, Corizon president Stuart Campbell also stepped down.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 18 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 19 of 135

63. According to Corizon’s website, the company provides healthcare services at over 530
correctional facilities serving approximately 378,000 prisoners in 28 states. In addition,
Corizon employs around 14,000 staff members and contractors. The company’s corporate
headquarters is located in Brentwood, Tennessee and its operational headquarters is in St.
Louis, Missouri.

64. The 2011 merger that created Corizon involved Valitas Health Services, the parent
company of CMS, and America Service Group, the parent company of PHS. The
Nashville Business Journal reported the deal was valued at $250 million.

65. “Corizon’s vision is firmly centered around service — to our clients, our patients and our
employees,” Campbell said at the time. “To that we add the insight of unparalleled
experience assisting our client partners, and caring professionals serving the unique
healthcare needs of [incarcerated] patients.”

66. Corizon has around $1.5 billion in annual revenue and contracts to provide medical
services for the prison systems in 13 states. The company also contracts with numerous
cities and counties to provide healthcare to prisoners held in local jails; some of
Corizon’s larger municipal clients include Atlanta, Philadelphia and New York City
(including the Rikers Island jail). Additionally, the company has its own in-house
pharmacy division, PharmaCorr, Inc.

67. The prison healthcare market has flourished as state Departments of Corrections and local
governments seek ways to save money and reduce exposure to litigation. [See: PLN, May
2012, p.22]. Only a few major companies dominate the industry. Corizon’s competitors
include Wexford Health Sources, Armor Correctional Health Services, NaphCare,

Correct Care Solutions and Centurion Managed Care — the latter being a joint venture of

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 19 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 20 of 135°

MHM Services and Centene Corporation. Around 20 states outsource all or some of the
medical services in their prison systems.

68. As Corizon is privately held, there is little transparency with respect to its internal
operations and financial information, including costs of litigation when prisoners (or their

" surviving family members) sue the company, often alleging inadequate medical care.

69. For example, when Corizon was questioned by the news media in Florida during a
contract renewal, the company initially tried to prevent the release of its litigation history,
claiming it was a “trade secret.”

70. In 2012, Corizon agreed to settle a lawsuit filed against PHS — one of its predecessor
companies — by Prison Legal News, secking records related to the resolution of legal
claims against the firm in Vermont. Based on the records produced pursuant to that
settlement, PHS paid out almost $1.8 million in just six cases involving Vermont
prisoners from 2007 to 2011. [See: PLN, Dec. 2012, p.16].

71. Companies like Corizon provide healthcare in prisons and jails under the HMO model,
with an emphasis on cutting costs — except that prisoners have no other options to obtain
medical treatment except through the contractor.

72. A former Corizon nurse had her license suspended and is currently under investigation by
the Arizona State Board of Nursing for incompetence. In January 2014, nurse Patricia
Talboy was accused of contaminating vials of insulin at three units at the ASPC-Lewis
prison, potentially exposing two dozen prisoners to HIV or hepatitis.

73. Talboy reportedly used a needle to stick prisoners’ fingers to check their blood sugar
levels. She then used the same needle to draw insulin from vials of the medication

utilized for multiple prisoners, possibly contaminating the insulin in the vials. After

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
- 90086 (CML) Page 20 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 21 of 135

placing the vials back into inventory, other staff members may have unknowingly used
them to dispense insulin.

74. “Every indication is that the incident is the result of the failure by one individual nurse to
follow specific, standard and well-established nursing protocols when dispensing injected
insulin to 24 inmates,” Arizona Department of Corrections (ADC) director Charles L.
Ryan said in a January 9, 2014 statement.

75. Talboy’s failure to follow procedures was discovered after a prisoner told a different
nurse about the issue. Corizon reportedly delayed three days before publicly reporting the
incident; in a press release, the company admitted that one of its nurses had been
involved in “improper procedures for injections.” Talboy received her nursing license in
August 2012 and became an RN in June 2013; as a rookie nurse, Corizon likely paid her
less than more experienced nurses.

76. Following the insulin-related incident, the company was ordered to develop a
comprehensive plan that includes “supplemental training and competency testing
procedures for blood glucose testing and administration of insulin,” as well as “nurse-
peer reporting education to ensure professional accountability” and “patient awareness
education on injection protocols.”

77. Granted, Corizon isn’t alone with respect to such incidents. In August 2012, a nurse
employed by the ADC’s previous medical services contractor, Wexford Health Sources,
contaminated the insulin supply at ASPC-Lewis through improper injection protocols,
potentially exposing 112 prisoners to hepatitis C. [See: PLN, July 2013, p.1].

78. Corizon has a three-year, approximately $370 million contract to provide medical care in

Arizona state prisons, which began in March 2013. The contract award generated

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 21 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 22 of 135

controversy because former ADC director Terry Stewart was hired by Corizon as a
consultant; current director Charles Ryan had previously worked under Stewart, raising a
_ potential conflict of interest. Ryan denied any improprieties.

79. According to a report by the American Friends Service Committee released in October
2013, titled “Death Yards: Continuing Problems with Arizona’s Correctional Health
Care,” medical services in Arizona prisons did not improve after Corizon replaced
Wexford as the ADC’s healthcare contractor. “Correspondence from prisoners; analysis
of medical records, autopsy reports, and investigations; and interviews with anonymous
prison staff and outside experts indicate that, if anything, things have gotten worse,” the
report stated.

80. In 2013, the Florida Department of Corrections (FDOC) awarded Corizon a five-year,
$1.2 billion contract to provide medical services to state prisoners in north and central
Florida. Wexford Health Sources was contracted to provide similar services in the
southern region of the state for $240 million. [See: PLN, June 2013, p.24]. The wholesale
privatization of healthcare in Florida’s prison system followed a 2011 legislative decision
to disband the state’s Correctional Medical Authority, which had oversight over prison
medical care. [See: PLN, May 2012, p.30].

81. The contracts were part of the Republican administration’s initiative to expand
privatization of government services, including prison management and healthcare, in
spite of previous setbacks. In 2006, PHS withdrew two months into an almost $800
million contract to provide medical care to Florida prisoners; at that time, the company

said the contract was not cost-effective and claimed it would lose money.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 22 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 23 of 135

82. The 2013 contract awards to Corizon and Wexford followed a two-year legal fight. In
2011, AFSCME Florida and the Federation of Physicians and Dentists/Alliance of
Healthcare and Professional Employees filed suit challenging the prison healthcare
contracts, in an effort to protect the jobs of nearly 2,600 state workers.

83. On June 21, 2013 the First District Court of Appeals approved the privatization of
medical care in FDOC facilities, overturning a ruling by the Leon County Circuit Court.
The appellate court noted in its decision that “The LBC [Legislative Budget Committee]
simply moved funds from different line items within the Department’s Health Services’
program, providing additional funds for contracts that the Department otherwise had the
authority to enter.” See: Crews v. Florida Public Employers Council 79, 113 So.3d 1063
(Fla. Dist. Ct. App. 1st Dist. 2013).

84. Under the terms of the FDOC’s contract with Corizon, the company must provide
medical care to Florida state prisoners for 7% less than it cost the FDOC in 2010. When
entering into the contract, state officials apparently had few concerns about the numerous
lawsuits previously filed against Corizon, and no hard feelings toward the company’s
predecessor, PHS, when it terminated its 2006 contract to provide medical services to
Florida prisoners because it wasn’t profitable.

85. In a September 6, 2012 unpublished ruling, the Eleventh Circuit Court of Appeals
affirmed a $1.2 million Florida jury verdict that found Corizon — when it was operating as
PHS — had a policy or custom of refusing to send prisoners to hospitals. The Court of
Appeals held it was reasonable for jurors to conclude that PHS had delayed medical
treatment in order to save money. See: Fields v. Corizon Health, 490 Fed.Appx. 174
(11th Cir. 2012).

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 23 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 24 of 135

86. The jury verdict resulted from a suit filed against Corizon by former prisoner Brett A.
Fields, Jr. In July 2007, Fields was being held in the Lee County, Florida jail on two
misdemeanor convictions. After notifying PHS staff for several weeks that an infection
was not improving, even with antibiotics that had been prescribed, Fields was diagnosed
with MRSA. PHS did not send him to a hospital despite escalating symptoms, including
uncontrolled twitching, partial paralysis and his intestines protruding from his rectum. A
subsequent MRI scan revealed that Fields had a severe spinal compression; he was left
partly paralyzed due to inadequate medical care.

87. The Eleventh Circuit wrote that PHS “enforced its restrictive policy against sending
prisoners to the hospital,” and noted that a PHS nurse who treated Fields at the jail
“testified that, at monthly nurses’ meetings, medical supervisors ‘yelled a lot about nurses
sending inmates to hospitals.’” Further, PHS “instructed nurses to be sure that the inmate
had an emergency because it cost money to send inmates to the hospital.”

88. At trial, the jury found that PHS had a custom or policy of deliberate indifference that
violated Fields’ constitutional right to be free from cruel and unusual punishment. The
jurors concluded that Fields had a serious medical need, PHS was deliberately indifferent
to that serious medical need, and the company’s actions proximately caused Fields’
injuries. The jury awarded him $700,000 in compensatory damages and $500,000 in
punitive damages. [See: PLN, March 2013, p.54; Aug. 2011, p.24].

89. More recently, the estate of a 21-year-old prisoner who died at a jail in Manatee County,
Florida filed a lawsuit in October 2013 against the Manatee County Sheriff’s Office and

Corizon, the jail’s healthcare provider. The complaint accuses the defendants of

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 24 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 25 of 135

deliberate indifference to the serious medical needs of Jovon Frazier and violating his
rights under the Eighth Amendment.

90. In February 2009, Frazier was incarcerated at the Manatee County Jail; at the time of his
medical intake screening, staff employed by Corizon, then operating as PHS, noted that
his health was unremarkable. Frazier submitted a medical request form in July 2009,
complaining of severe pain in his left shoulder and arm, and a PHS nurse gave him
Tylenol.

91. Throughout August and September 2009, Frazier submitted five more medical requests
seeking treatment for his arm and shoulder. “It really hurts! HELP!” he wrote in one of
the requests. PHS employees saw him and recorded his vital signs. Despite the repeated
complaints, Frazier was never referred to a doctor or physician assistant; on September 9,
2009 his treatment was documented as routine but he was placed on the “MD’s list.”

92. An X-ray was taken on September 17, 2009 to rule out a shoulder fracture. The X-ray
was negative for a fracture, and Frazier was not referred to a doctor. He submitted two
more medical requests that month and five requests in October 2009 seeking treatment
for his increasingly painful condition. The complaint alleges that in total, Frazier
submitted 13 medical request forms related to pain over a period of three months; he was
seen by a nurse each time but not examined by a physician.

93. On October 29, 2009, Frazier received an X-ray to determine if he had a tendon injury.
An MRI was recommended and he was transported to a hospital where an MRI scan
revealed a large soft tissue mass on his shoulder. A doctor at the hospital, concerned that

the mass was cancerous, recommended additional tests.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC _ No: 23-
90086 (CML) Page 25 of 185
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 26 of 135

94. After being diagnosed with osteosarcoma, a form of bone cancer, Frazier was returned to
the jail and subsequently treated at the Moffitt Cancer Center, where he received
chemotherapy, medication and surgery. Despite this aggressive treatment the cancer
progressed and Frazier’s left arm was amputated. The cancer continued to spread,
however, and he was diagnosed with lung cancer in June 2011. He died within three
months of that diagnosis, on September 18, 2011.

95. In a letter to the attorney representing Frazier’s estate, Florida oncologist Howard R.
Abel wrote that the lack of treatment provided by Corizon at the Manatee County Jail
constituted “gross negligence and a reckless disregard to Mr. Frazier’s right to timely and
professionally appropriate medical care.”

96. The lawsuit filed by Frazier’s estate claims that Corizon was aware of his serious medical
condition but failed to provide adequate treatment. In addition, the complaint contends
the company has a widespread custom, policy and practice of discouraging medical staff
from referring prisoners to outside medical practitioners and from providing expensive
medical tests and procedures. Finally, the lawsuit states that “Corizon implemented these
widespread customs, policies and practices for financial reasons and in deliberate
indifference to [the] serious medical needs of Frazier and other inmates incarcerated at
Manatee County Jail.”

97. On January 10, 2014, U.S. District Court Judge James Moody denied Corizon’s motion
to dismiss the case. The company had argued that the allegations in the lawsuit failed to
assert sufficient facts to establish deliberate indifference, amounted only to medical
negligence and were insufficient to establish gross negligence, and failed “to adequately

allege a policy or custom that violated Frazier’s rights.” Judge Moody disagreed, finding

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 26 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 27 of 135

the claims set forth in the complaint were “sufficient to establish a constitutional
violation.”

98. The Manatee County Sheriff’s Office had better luck with its motion to dismiss. The
Sheriff argued the complaint did not establish facts indicating that the jail had a similar
practice — like Corizon — of providing deliberately indifferent medical care to prisoners.
The court agreed and dismissed the claims against the Sheriff's Office; the claims against
Corizon remain pending. See: Jenkins v. Manatee County Sheriff, U.S.D.C. (M.D. Fla.),
Case No. 8:13-cv-02796-JSM-TGW.

99. In February 2013, the Idaho Department of Corrections (IDOC) announced it had reached
a one-year extended agreement with Corizon to provide medical care in the state’s prison
system. However, the Idaho Business Review reported that the extension also resulted in
a rate increase. Then-Corizon president Stuart Campbell informed the IDOC Board of
Correction that the company wouldn't sign an extension for less money, stating the
cusrent contract had become too costly. During the preceding three years of the contract
the IDOC had incurred approximately 20% in cumulative rate increases.

100. Both sides agreed that the contract would run through December 2013 and the
IDOC would pay an additional $250,000. It seems odd that Idaho was willing to continue
contracting with the company, though, as the relationship between the IDOC and Corizon
has been a rocky one.

101. The quality of medical care at the Idaho State Correctional Institution (ISCD) in
Boise has been an ongoing issue for nearly three decades. The prison was the focus of a

class-action lawsuit filed on behalf of prisoners alleging a variety of problems, including

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 27 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 28 of 135

inadequate healthcare. The lawsuit was known as the Balla litigation after plaintiff Walter
Balla.

102. In July 2011, after new complaints were filed regarding medical care at ISCI, U.S
District Court Judge B. Lynn Winmill appointed a special master, Dr. Marc F. Stern, to
assess the situation at the facility. The court wanted Stern to confirm whether [SCI was in
compliance with the temporary agreements established in the Balla case, and to
investigate and report on “the constitutionality of healthcare” at the facility.

103. Dr. Stern, a former health services director for the Washington Department of
Corrections who also had previously worked for CMS, one of Corizon’s predecessor
companies, issued a scathing report in February 2012. With the aid of psychiatrist Dr.
Amanda Ruiz, Stern and his team reviewed ISCI over a six-day period and met with
dozens of prisoners, administrators and Corizon employees.

104. Stern stated in the report’s executive summary: “I found serious problems with
the delivery of medical and mental health care. Many of these problems have either
resulted or risk resulting in serious harm to prisoners at ISCI. In multiple ways, these
conditions violate the rights of prisoners at ISCI to be protected from cruel and unusual
punishment. Since many of these problems are frequent, pervasive, long-standing, and
authorities are or should have been aware of them, it is my opinion that authorities are
deliberately indifferent to the serious health care needs of their charges.”

105. The report found that prisoners who were terminally ill or in long-term care were
sometimes left in soiled linens, given inadequate pain medication and went for long
periods without food or water. The findings regarding sick call noted instances in which

prisoners’ requests either resulted in no care, delayed care or treatment that was deemed

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 28 of 1385
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 29 of 135

dangerous. Emergency care situations had insufficient oversight, delays or no response;
inadequately trained medical staff operated independently during emergencies without
oversight from an RN or physician. The report also found problems with the pharmacy
and medication distribution at ISCI.

106. In one case, a prisoner with a “history of heart disease was inexplicably dropped
from the rolls of the heart disease Chronic Care Clinic.” As a result, medical staff stopped
conducting regular check-ups and assessments related to the prisoner’s heart condition. A
few years later the prisoner went in for a routine visit, complaining of occasional chest
pain. No evaluation or treatment was ordered and the prisoner died four days later due to
a heart attack. In another case, Corizon staff failed to notify a prisoner for seven months
that an X-ray indicated he might have cancer.

107. Dr. Stern’s report not only reviewed processes but also staff competency and
adequacy. The report cited allegations that a dialysis nurse at ISCI overtly did not like
prisoners, and routinely “failed to provide food and water to patients during dialysis,
prematurely aborted dialysis sessions or simply did not provide them [dialysis] at all and
failed to provide ordered medications resulting in patients becoming anemic.” Stern
concluded that prison officials were aware of this issue and the danger it presented to
prisoners, but “unduly delayed taking action.”

108. The mental health care provided by Corizon at ISCI was found to be deficient by
Dr. Ruiz, who conducted the psychiatric portion of the court-ordered review. The report
noted that the facility had 1) inadequate “screening of and evaluating prisoners to identify
those in need of mental health care,” 2) “significant deficiencies in the treatment program

at ISCI” which was “violative of patients’ constitutional right to health care,” 3) an

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 29 of 135-
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 30 of 135

“insufficient number of psychiatric practitioners at ISCI,” 4) incomplete or inaccurate
treatment records, 5) problems with psychotropic medications, which were prescribed
with no face-to-face visits or follow-up visits with prisoners and 6) inadequate suicide
prevention training.

109. The report concluded: “The state of guiding documents, the inmate grievance
system, death reviews and a mental health CQI [continuous quality improvement] system
at ISCI is poor. While not in and of themselves unconstitutional, it is important for the
court to be aware of this and its possible contribution to other unconstitutional events.”

110. In March 2012, shortly after Dr. Stern’s report was released over the objection of
state officials, Corizon disagreed with its findings. The company retained the National
Commission on Correctional Health Care (NCCHC) to review the report. Corizon
described the review as an “independent assessment,” even though it was paying NCCHC
accreditation fees.

111. The NCCHC review consisted of a three-person team assessing the facility over a
two-day period in April 2012. Unlike Stern’s assessment of medical and mental health
care, the NCCHC team did not interview prisoners or include a psychiatrist. Regardless,
the agency concluded that “The basic structure of health services delivery at ISCI meets
NCCHC’s standards.”

112. Corizon stated in a press release that Dr. Stern’s report was “incomplete,
misleading and erroneous,” and then-CEO Rich Hallworth appeared in a video defending
the company. The NCCHC had previously accredited Corizon’s healthcare services at

ISCI, thus in essence the NCCHC’s review was self-validating the organization’s prior

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 30 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 31 of 135

accreditation findings. Also, according to NCCHC’s website, two Corizon officials sit on
the agency’s health professionals certification board of trustees.

113. Corizon’s criticism of Dr. Stern’s report is just one example where the company
has objected to an independent, third-party assessment of its medical services. The Balla
case settled in May 2012 after 30 years of litigation. [See: PLN, Feb. 2013, p.40].

114. Following a competitive bidding process, Corizon was selected to continue
providing medical care to Indiana state prisoners under a three-year contract effective
‘January 1, 2014. The contract has a cap of $293 million, based on a per diem fee of $9.41
per prisoner.

115. Three weeks later, a lawsuit filed in federal court named Corizon and the Indiana

Department of Correction as defendants in connection with the wrongful death of
prisoner Rachel Wood. Wood, 26, a first-time drug offender, died in April 2012; the suit,
filed on behalf of her family, claims she was transferred from prison to prison and denied
care for her serious medical conditions, which included lupus and a blood clotting
disorder.
“Notwithstanding the duty of the prison medical staff to provide adequate medical care to
Rachel and to treat her very serious life threatening conditions, prison medical staff
willfully and callously disregarded her condition, and allowed Rachel to deteriorate and
die,” the complaint stated.

116. “That is just the attitude of these guys, is saving money rather than providing

health care,” said Michael K. Sutherlin, the attorney representing Wood’s family.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 381 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 32 of 135

117. Prison officials reportedly moved Wood among several different prisons and
hospitals, and at one point lost track of her and claimed she had escaped even though she
was still incarcerated.

118. “She died a horrible death and she died alone,” stated her father, Claude Wood.
The lawsuit remains pending. See: Williams v. Indiana DOC, Marion County Superior
Court (IN), Case No. 49D05-1401-CT 001478.

119. In an October 2013 Bangor Daily News article, Steve Lewicki, coordinator of the
Maine Prisoner Advocacy Coalition, discussed the state of healthcare in Maine’s prison
system. “Complaints by prisoners are less,” he said, noting that while medical services
provided to prisoners are better than in the past, there are still concerns. This relative
improvement coincided with the end of the state’s contract with Corizon. The contract,
valued at approximately $19.5 million, was awarded to another company in 2012.

120. A year earlier, the Maine legislature’s Office of Program Evaluation and
Government Accountability (OPEGA) completed a review of medical services in state
prisons. The agency contracted with an independent consultant, MGT of America, to
conduct most of the fieldwork, and the review included services provided under
Corizon’s predecessor company, CMS.

121. The OPEGA report, issued in November 2011, cited various deficiencies in
medical care at Maine prisons — including medications not always being properly
administered and recorded by CMS staff. Although the company was notified of the
problem, no corrective action was taken. CMS employees did not follow policies related
to medical intake and medical records; OPEGA reported that 38% of prisoners’ medical

files had inadequate or inaccurate documentation regarding annual physical assessments,

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 32 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 33 of 135

and that files were not complete or consistently maintained. The report found 11% of sick
calls reviewed were either not resolved timely or had no documented resolution. OPEGA
also criticized CMS for inadequate staff training.

122. At a January 2012 legislative committee hearing, state Senator Roger Katz asked
Corizon regional vice president Larry Amberger, “My question to you is in light of this
history, why should the state seriously be considering any proposal your company might
make to get this contract back again?”

123. In response, Amberger criticized the methodology used by MGT during the
assessment and said he believed Corizon provided quality medical care. Questioning and
challenging the findings of an independent reviewer is the same tactic the company used
in Idaho. Regardless, Corizon’s contract to provide medical care to Maine state prisoners
is now a part of history.

124. While some jurisdictions, like Maine, have chosen not to renew their contracts
with Corizon due to performance-related problems, in 2013 the Metro Department of
Corrections in Louisville, Kentucky (LMC) offered the company a chance to rebid for its
$5.5 million contract to provide medical care at the LMC jail. This time, however, it was
Corizon that said “no thanks.”

125. The rebid offer was made even though seven healthcare-related prisoner deaths
occurred in a seven-month period in 2012 during Corizon’s prior contract, which expired .
in February 2013. Nevertheless, LMC and Corizon agreed to extend the contract through
July 30, 2013 on a month-to-month basis pending a formal rebid.

126. After the expiration of the month-to-month contract extension, Corizon notified

LMC that it was no longer interested in providing services to the corrections department

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 38 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 34 of 135

and would not seek to rebid the contract. LMC director Mark Bolton told the Courier
Journal he was “surprised” by the company’s decision. What seems more surprising 1s
that LMC wanted to continue contracting with Corizon to provide medical services in
spite of the number of prisoner deaths.

127. In April 2012, Savannah Sparks, 27, a heroin addict and mother of three, was
arrested and held on shoplifting charges at the LMC jail. While withdrawing from heroin
she vomited, sweat profusely, could not sit up, could not eat or drink, and defecated and
urinated on herself. Six days later she was dead. According to the medical examiner, her
death was due to “complications of chronic substance abuse with withdrawal.”

128. A subsequent wrongful death suit alleged that Corizon and LMC employees were
negligent in failing to provide treatment for Sparks’ opiate addiction and withdrawal.
Corizon settled the suit under confidential terms. See: May v. Corizon, Jefferson County
Circuit Court (KY), Case No. 13-CI-001848.

129. Four months after Sparks’ death, on August 8, 2012, another LMC prisoner,
Samantha George, died. A lawsuit filed in Jefferson County Circuit Court claimed that
George was moved from the Bullitt County Jail to the LMC facility on a charge of buying
a stolen computer. According to the complaint, she told a Corizon nurse that she was a
severe diabetic, needed insulin, and was feverish and in pain from a MRSA infection.

130. The nurse notified an on-call Corizon physician, who was not located at the
facility and thus could not examine George in person, to decide if she should be taken to
an emergency room. The doctor recommended monitoring George and indicated he

would see her the next day. George’s condition rapidly deteriorated while she was

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 34 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 35 of 135

monitored by staff at the jail; she was found unresponsive a few hours after being
admitted to the facility and pronounced dead a short time later.

131. An autopsy concluded that George died due to complications from a severe form
of diabetes compounded by heart disease. According to the lawsuit, the Corizon doctor
never saw George; among other defendants, the suit named Corizon and LMC director
Mark Bolton as defendants. The case was removed to federal court, then remanded to the
county circuit court in October 2013. See: George v. Corizon, U.S.D.C. (W.D. Ky.), Case
No. 3:13-cv-00822-JHM-JDM.

132. A few weeks after George’s death, Kenneth Cross was booked into the LMC jail
on a warrant for drug possession. According to a subsequent lawsuit, upon Cross’ arrival
at the jail a nurse documented that he had slurred speech and fell asleep numerous times
during the medical interview. Several hours later he was found unconscious, then died
shortly thereafter due to a drug overdose. The lawsuit filed by Cross’ estate alleged that
employees at the LMC jail were deficient in recognizing and treating prisoners’ substance
abuse problems and that the facility was inadequately staffed for such medical care.

133. After the deaths of Sparks, George, Cross and four other prisoners in 2012, LMC
director Bolton said he believed Corizon took too long to evaluate and treat prisoners at
the jail. According to the Courier-Journal, Bolton sent an email to his staff in December
2012 regarding the prisoners’ deaths, stating, “Mistakes were made by Corizon personnel
and their corporation has acknowledged such missteps.” He further indicated that Corizon
employees — not LMC staff members — were responsible for the care of the prisoners who
died. Six Corizon employees at the LMC jail resigned in December 2012 during an

internal investigation; they were not identified.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 35 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 36 of 135

134. Bolton’s criticism was too little, too late to prevent the deaths of the seven LMC
prisoners, though the jail has since made improvements to its medical services, including
a full-time detox nurse and new protocols for prisoners experiencing withdrawal. One
could speculate that LMC’s critique of Corizon might be a litigation tactic, to deflect
responsibility. The fact remains that seven deaths occurred under Corizon’s watch and,
notwithstanding those deaths, LMC was willing to renew its contract with the company.

135. In January 2014, the Louisville Metro Police’s Public Integrity Unit concluded
investigations into three of the deaths at the jail, and criticized both Corizon and LMC.
The Commonwealth Attomey’s Office found that Sparks’ and George’s deaths were
preventable; however, no criminal charges were filed. Dr. William Smock, a forensic
examiner who served as a consultant during the investigations, stated with respect to
George’s death: “There is compelling evidence of a significant deviation from the
standard of care and medical negligence on the part of the medical providers.”

“I’m glad to see that the government’s investigation matches exactly what our
investigation showed, which is that her death and others like hers is easily preventable,” .
said Chad McCoy, the attorney representing George’s estate.

136. After providing medical care to Minnesota state prisoners for 15 years, Corizon
was not selected when the contract was rebid in 2013 — despite having submitted the
lowest bid. Instead, competitor Centurion Managed Care was to begin. providing
healthcare services in Minnesota’s prison system effective January 1, 2014 under a two-
year, $67.5 million contract.

137. Corrections Commissioner Tom Roy said the contract with Centurion was

expected to “deliver significant savings to taxpayers while improving the quality of care

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 36 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 37 of 135

for offenders.”

According to the Star-Tribune, nine prisoners died and another 21 suffered serious or
critical injuries in Minnesota correctional facilities due to delay or denial of medical care
under the state’s previous contract, which had been held by Corizon or its predecessor,
CMS, since 1998.

138. That contract was for a fixed annual flat fee of $28 million. A flat fee contract
provides an incentive for the contractor to tightly control costs, as a reduction in expenses
results in an increase in profit. The Star-Tribune found that many of the staffing
arrangements negotiated in the contract played a role in the deaths and injuries. For
example, the contract allowed Corizon physicians to leave at 4:00pm daily and did not
require them to work weekends. During off-hours there was only one doctor on call to
serve the state’s entire prison system, and many of the off-hour consultations were done
telephonically without the benefit of the prisoner’s medical chart. Under the contract,
Corizon was not required to staff most facilities overnight.

139. The Minnesota Department of Corrections was held liable for nearly $1.8 million
in wrongful death and medical negligence cases during the period when the state
contracted with Corizon or CMS.

140. In October 2012, a jury in Washington County awarded Minnesota prisoner
Stanley Riley more than $1 million after finding a Corizon contract physician, Stephen J.
Craane, was negligent in providing medical treatment. The Star-Tribune reported that
Riley suffered from what turned out to be cancer and had written a series of pleading
notes to prison officials. One read, “I assure you that I am not a malingerer. I only want
to be healthy again.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
, 90086 (CML) Page 37 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 38 of 135

141. In May 2013, the state paid $400,000 to settle a lawsuit over the death of a 27-
year-old prisoner at MCF-Rush City. Xavius Scullark-Johnson, a schizophrenic, suffered
at least seven seizures in his cell on June 28, 2010. Nurses and guards didn’t provide him
with medical care for nearly eight hours. According to documents obtained by the Star-
Tribune, Scullark-Johnson was found “soaked in urine on the floor of his cell” and was
“coiled in a fetal position and in an altered state of consciousness that suggested he had
suffered a seizure.” An ambulance was called several hours later but a nurse at the prison
turned it away, apparently due to protocols to cut costs. Corizon settled the lawsuit for an
undisclosed sum in June 2013. See: Scullark v. Garin, U.S.D.C. (D. Minn.), Case No.
0:12-cv-01505-RHK-FLN.

142. In Philadelphia, Mayor Michael A. Nutter has been accused of being too loyal to
his campaign contributors, including Corizon. The company donated $1,000 to Nutter’s
2012 campaign committee several months before the city renewed Corizon’s contract to
provide medical care to 9,000 prisoners in Philadelphia’s prison system. Further, PHS
donated $5,000 to Nutter’s mayoral campaign in 2008.

143. The contract renewal would have been routine except for the fact that Corizon’s
performance in Philadelphia has been far from stellar. In July 2012 the company agreed
to pay the city $1.85 million following an investigation that found Corizon was using a
minority-owned subcontractor that did no work, which was a sham to meet the city’s
requirements for contracting with minority-owned businesses.

144. The renewed year-to-year Corizon contract, worth $42 million, began in March
2013. Nutter’s administration was accused of using the year-to-year arrangement to avoid

having the contract scrutinized by the city council; the city’s Home Rule Charter requires

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 38 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 39 of 135

all contracts of more than one year to be reviewed by the council. Further infuriating
opponents of the contract, Corizon was not the lowest bidder. Correctional Medical Care
(CMC), a competitor, submitted a bid that would have cost the city $3.5 million less per
year than Corizon. Philadelphia Prison Commissioner Louis Giorla defended the city’s
decision to award the contract to Corizon at a council hearing; however, he declined to
answer questions as to why the administration considered Corizon’s level of care to be
superior to that provided by CMC.

145. Three union contracts with Corizon covering 270 of the company’s workers in
Philadelphia’s prison system expired on November 26, 2013. Corizon demanded benefit
cuts, including changes in employee healthcare programs, to offset wage increases
promised under the company’s contract with the city. A strike was averted in December
2013 when the mayor’s office intervened and both sides reached a settlement. The
Philadelphia Daily News reported that the new union contracts provide wage increases
but also include a less-generous health insurance plan for Corizon employees.

146. Since 1995, Corizon and its predecessor, PHS, have received $196 million in city
contracts. The company’s contract was terminated for several months in 2002 as a result
of complaints that a diabetic prisoner had died after failing to receive insulin. The city
renewed the contract anyway, citing affordability and pledging increased oversight. The
city’s law department estimates that Philadelphia has paid over $1 million to settle
lawsuits involving claims of deficient prison healthcare; the largest settlement to date is
$300,000, paid to a prisoner who did not receive eye surgery and is now partially blind.

147. Based upon the number of lawsuits filed against Corizon alleging inadequate

medical care, its use of a sham subcontractor and the company’s treatment of its own

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 39 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 40 of 135

employees, it appears that maintaining the status quo — not best practices — may be the
controlling factor in Philadelphia’s continued relationship with Corizon.

148. On September 30, 2013, a prisoner jumped from the top tier of a pod at the
Allegheny County Jail. Following an investigation, authorities refused to make public
their findings and declined to disclose the prisoner’s injuries, citing medical privacy laws.
The prisoner, Milan Karan, 38, was not transported to the hospital until the following
day.

149. A spokesperson for Corizon, which provides medical care at the 2,500-bed jail,
defended the nearly 24-hour delay by noting the prisoner “was under observation” before
being sent to a hospital.

150. In December 2013, the Pittsburgh Post-Gazette reported that Corizon was having
difficulty staffing the Allegheny County Jail. When the newspaper requested a comment
from Corizon vice president Lee Harrington, Harrington claimed he had no knowledge of
staffing problems — despite having previously received emails from the facility’s warden
about that exact issue.

The staffing problems resulted in prisoners not receiving their medication in a timely
manner. In emails obtained by the Post-Gazette, Warden Orlando Harper wrote to
Harrington in October 2013, noting, “We are continuing to experience issues pertaining
to the following: 1. Staffing, 2. Medication distribution.” Also, on November 17, 2013,
Deputy Warden Monica Long sent an email to Corizon and jail staff. “I was just informed
by the Captain on shift, the majority of the jail has not received medication AT ALL,”

she stated, adding, “Staffing is at a crisis.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 40 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 41 of 135

151. That crisis had been ongoing since Corizon assumed the medical services contract
at the facility on September 1, 2013. Before the $62.55 million, five-year contract was
awarded, Corizon vice president Mary Silva wrote in an email that it was imperative the
jail have “adequate staffing on ALL shifts.” That promise was made despite Corizon
laying off many of the former employees of Allegheny Correctional Health Services, the
jail’s previous healthcare provider.

152. Allegheny Correctional had provided four full-time and one part-time physician
during its contract tenure. Corizon reduced the number of doctors to one full-time and
one part-time physician. Allegheny Correctional also employed three psychiatrists and
one psychologist. Corizon’s contract requires that it provide one full-time psychiatrist and
a part-time psychologist.

153. In January 2014, the United Steelworkers union (USW) filed a petition with the
National Labor Relations Board to unionize Corizon employees at the Allegheny County
Jail, including nurse practitioners, RNs, physician assistants and psychiatric nurses. USW
representative Randa Ruge indicated that the Corizon workers had approached the union
for representation due to intolerable working conditions.

154, “Our folks [Corizon employees] are in danger of losing their licenses to practice
by some of the things that the company has them doing,” she said. Ruge told the Post-
Gazette that the jail had run out of insulin for more than a week and Corizon supervisors
had “countermanded doctors’ orders.”

155. Several weeks after the USW filed the labor petition, a Catholic nun who worked
as an RN at the jail was fired by Corizon, allegedly for union organizing activities. Sister

Barbara Finch was dismissed after she openly expressed concerns about staffing, patient

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 41 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 42 of 135

care and safety at the facility. The USW filed an unfair labor complaint against Corizon
regarding Finch’s dismissal, claiming she was terminated in retaliation for her union
activities.

156. “This is a clear case of intimidation and union-busting at its worst,” said USW

President Leo W. Gerard. “Sister Barbara has been an outspoken advocate of change for
these courageous workers and their patients, and this kind of illegal and unjust action,
unfortunately, is par for the course with Corizon.”
On February 14, 2014, Corizon employees at the Allegheny County Jail voted
overwhelmingly to unionize. “The next step is getting to the bargaining table and getting
Corizon to bargain in good faith and get some changes made in the health system at the
jail,” said Ruge.

157. The previous week, Allegheny County Controller Chelsa Wagner stated she had
“grave and serious concerns” about medical care at the facility, including issues related to
staffing and treatment for prisoners with certain mental health conditions. “I regard the
current situation as intolerable and outrageous, and I fully expect necessary changes to be
urgently implemented,” she wrote in a letter to Corizon.

158. On August 29, 2013, Ieasha Lenise Meyers, incarcerated at the jail in Polk
County, Iowa on a probation violation, gave birth on a mattress on the floor of her cell.
Her cellmates assisted with the delivery. Earlier, when Meyers, 25, had complained of
contractions, a Corizon nurse called an offsite medical supervisor and was told to monitor
the contractions and check for water breaking.

159. Despite Meyers having been twice sent to a hospital earlier the same day, and

pleading that she was about to give birth, the nurse did rounds in other parts of the jail.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 42 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 43 of 135

Guards reportedly did not check on Meyers as required, even though the birth could be
seen on a nearby security monitor. Only after the baby was born was medical care
provided. Sheriff Bill McCarthy defended the actions of jail staff.

160. Like most private contractors that provide prison-related services, Corizon tends
to cut costs in terms of staffing and operational expenses. As noted above, this includes
paying lower wages, providing fewer or inferior benefits and hiring less qualified
workers who can be paid less. Sometimes, however, these practices result in employees
more like to engage in misconduct.

161. At the Pendleton Correctional Facility in Indiana, a Corizon nurse was arrested
and charged with sexual misconduct, a Class C felony. The Herald Bulletin reported that
in April 2013, when Colette Ficklin was working as a contract nurse for Corizon, she
convinced a prisoner to fake chest pains so they could be alone in an exam room. A guard
told internal affairs officers that she witnessed Ficklin and the prisoner engaging in sex
acts in the prison’s infirmary. [See: PLN, Sept. 2013, p.17].

162. In March 2013 at the Indiana State Prison in Michigan City, a Corizon practical
nurse was charged with drug trafficking and possession with intent to distribute. Phyllis
Ungerank, 41, was arrested and booked into the LaPort County Jail after attempting to
smuggle marijuana into the facility. [See: PLN, July 2012, p.50].

163. A Corizon nurse at the Volusia County Branch Jail in Daytona Beach, Florida, was
fired after officials learned she was having sex with and giving money to a prisoner.
Valerie Konieczny was terminated on December 18, 2012 when the jail was contacted by
the brother of prisoner Randy Joe Schimp, who had written in a letter that a nurse was

having sex with him and depositing money into his jail account. Investigators determined

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 43 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 44 of 135

that Konieczny was the nurse who had sex with Schimp at both the Volusia County
facility and another branch jail in 2011.

164. In New Mexico, Corizon physician Mark Walden was accused of fondling
prisoners’ genitals and performing prostrate exams that were “excessive and
inappropriate in terms of length and method.” At times, Walden reportedly did not wear
gloves during the prostate exams. He was accused of sexually abusing 25 or more male
prisoners while employed as a doctor at two privately-operated facilities, the Guadalupe
County Correctional Facility in Santa Rosa and Northeast New Mexico Detention
Facility in Clayton.

165. Lawsuits were filed against Walden, Corizon and private prison operator GEO
Group, and Walden’s medical license was suspended in December 2013. The suits claim
that Corizon allowed Dr. Walden to work at the Clayton prison “despite knowing of the
risk of sexual abuse and having the ability to know that [he] was repeatedly sexually
abusing patients” at the Santa Rosa facility. [see: pln, sept. 2013, p.47].

166. The role of Beecken Petty O’keefe & Company in Corizon’s scheme according to
BPOC

167. As one of the longest-tenured, pure play healthcare private equity firms in the
United States, BPOC has structured, managed and realized investments on behalf of
institutional and individual investors for nearly two decades.

168. Founded in 1996, BPOC ranks among the country’s oldest private equity
management firms in the United States that specialize exclusively in healthcare. The firm
and its investment professionals provide a powerful combination of financial and

operational experience and expertise.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 44 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 45 of 135

169. Our industry knowledge combined with a long-term historical perspective has
resulted in successful investments across regulatory, economic and financial market
cycles. BPOC’s goal is to deliver superior performance, form enduring partnerships and
provide unparalleled investment leadership.

170. We seek to partner with healthcare companies poised for strong, transformational
growth. We assume an active role as collaborative partners from the very onset of our
investment and have been praised for our sense of fair dealing and teamwork.

171. We look for companies whose management teams are creative and inventive and
that require capital for growth and significant value creation. We support management
with our deep experience, but when additional expertise is needed, we may also augment
our skills with our healthcare relationships forged over decades of involvement in the
industry.

172. Whether you’re an investor, a company or an executive, we’d like to hear from
you. To send us a message, please contact us at partners@bpoc.com.

173. We seek to partner with healthcare companies poised for strong, transformational
growth. We assume an active role as collaborative partners from the very onset of our
investment and have been praised for our sense of fair dealing and teamwork.

174. We look for companies whose management teams are creative and inventive and
that require capital for growth and significant value creation. We support management
with our deep experience, but when additional expertise is needed, we may also augment
our skills with our healthcare relationships forged over decades of involvement in the

industry.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC. No: 23-
90086 (CML) Page 45 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 46 of 135

175. Whether you’re an investor, a company or an executive, we’d like to hear from
you. To send us a message, please contact us at partners@bpoc.com.

176.

177. We seek to partner with healthcare companies poised for strong, transformational
growth. We assume an active role as collaborative partners from the very onset of our
investment and have been praised for our sense of fair dealing and teamwork.

178. We look for companies whose management teams are creative and inventive and
that require capital for growth and significant value creation. We support management
with our deep experience, but when additional expertise is needed, we may also augment
our skills with our healthcare relationships forged over decades of involvement in the
industry.

179. Whether you’re an investor, a company or an executive, we'd like to hear from
you. To send us a message, please contact us at partners@bpoc.com.

180. Medium-sized companies in the healthcare services segment. These companies
are run by highly capable management teams and exhibit identifiable competitive
advantages, significant barriers-to-entry, and the potential for a high return on invested
capital. Investments are prudently leveraged acquisitions of corporate subsidiaries;
recapitalizations of founder-owned and operated entities; and management-led
acquisitions of independent companies. Total enterprise values typically range from $50
million to $500 million.

181. Mid-Market Buyouts. A large portion of our investments are buyouts in smaller
companies—typically with EBITDA in excess of $5 million—operating in the healthcare

service, medical product and information technology segments. Target companies will be

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 46 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 47 of 135

in high-growth segments that exhibit high user-adoption rates and compelling
demographic trends; provide an unmet clinical or service need; and reduce costs in the
healthcare delivery system. Typically, EBITDA values range from $5 million to $50
million.

182. Medical Solutions, one of the nation’s largest travel nurse staffing companies, has
again earned a position on Inc.magazine’s Inc. 5000 list. The Omaha-based healthcare
staffing company ranked in position #1463 on the 2016 Inc. 5000 list, with 262% growth
over a three-year period and a 2015 revenue of $217 million.

183. This marks the ninth time in the previous 10 years that Medical Solutions earned a
spot on the Inc. 5000, including one year on the Inc. 500, illustrating a continued pattern
of strong growth for the pet-friendly healthcare staffing company. Headquartered in
Omaha, Nebraska, the nationwide travel nurse staffing company also ranked #7 amongst
top Nebraska companies on the 2016 Inc. 5000 list.

184. “Our amazing team is the reason we consistently see such impressive growth, and
I am so proud of them for once again earning us a spot on the prestigious Inc. 5000 list,”
said Medical Solutions CEO Craig Meier. “Medical Solutions’ strong commitment to
offering a superior experience to nurses, hospitals, and our internal team remains solid as
we grow. That firm commitment to customer and employee happiness is the number one

thing that promotes our continued success.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 47 of 135 .
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 48 of 135

FRAUDULENT STATEMENTS CORIZON MAKES TO INDUCE ENTITIES
INTO PROVIDING CORIZON WITH MONIES

185. Corizon Health issued a letter to D.C. City Council Chairman Phil Mendelson in
response to several questions he raised regarding Corizon Health’s testimony during the
March 12 Office of Contracting and Procurement oversight hearing.

186. Re: Corizon Health Testimony
Dear Chairman Mendelson:

Thank you again for giving me and my Corizon Health colleagues the opportunity to
appear before your March 12 Office of Contracting and Procurement oversight hearing.
This letter is intended to respond to several questions you raised and, in doing so, provide
additional material for the hearing record.

Litigation: As part of my response to your question about litigation, I testified that the
ratio of lawsuits to our average daily patient population is substantially lower than Unity
Health’s. Please let me offer some additional background:

Mr. Chairman, it is important to note that Unity has applied for and enjoys the status of a
“deemed Federal health center” (please see the attached HRSA public record). As a
result, Unity is in many cases protected from malpractice and other professional liability
lawsuits filed under the Federal Tort Claims Act. Corizon Health has no such protection.
Accordingly, any comparison of lawsuits filed is “apples to oranges” and likely in
Unity’s favor. Furthermore, inmates and returning citizens who are legitimately harmed
and seek legal redress, may well not have the same recourse under the incumbent contract

as they would under the awarded agreement. With that stated, the following ratios

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 48 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 49 of 135

illustrate our case for Corizon Health having fewer lawsuits per inmate served than
Unity:
Unity states it has been subject to eleven lawsuits in caring for an average of 2,500
inmates annually over the past five years. That equates to one lawsuit for every 1,136
inmates served.
Corizon Health, on the other hand, has served on average 400,000 inmates annually over
the past five years and has had 1,364 lawsuits. That equates to one lawsuit for every
_1,466 inmates served.
Having provided correctional healthcare services for more than 30 years, our company
has gained unique knowledge and experience allowing for the administration of the most
effective risk-management available. During the period of June 1, 2009 to May 31, 2014,
our company provided literally millions of patient care encounters — yet during this same
period, we have only been subjected to 1,364 lawsuits.
Of these 1,364 lawsuits, 942 (69%) are now closed while 422 (31%) remain open. Of the
closed lawsuits, fully 821 (87%) were dismissed by the courts, administratively closed or
resulted in a judgment in favor of Corizon Health. Furthermore, it serves as compelling
evidence of our strong, effective professional liability risk-management program that
Corizon Health has elected to settle only approximately 117 (12%) of the closed lawsuits
after careful evaluation of the costs associated with continued litigation. Consistent with
the highly litigious nature of the correctional healthcare industry, it is important to note
that 1,049 (77%) of the healthcare-related lawsuits filed against Corizon Health over the

past five years were initiated by pro se inmates. Further, of the 315 represented

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-
90086 (CML) Page 49 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 50 of 135

healthcare-related lawsuits filed against Corizon Health, only 123 (39%) remain open at
this time.

As you may be aware, a very detailed five-year combined litigation history for Corizon
Health, Inc. and its related company Corizon, LLC. (collectively “Corizon”) was
provided on a proprietary basis as part of our RFP response, and for consideration in the
ultimate award decision.

Partnerships with Certified Business Enterprises, Community Clinics and Other Service
Providers: You asked my colleague, Michael Miller, about our relationships with D.C.
community clinics able to provide outside clinical, counseling and other pertinent re-
entry services.

Partnership has been the foundation of the successful relationships Corizon Health builds
with our clients. In our RFP submission, we committed to have our healthcare team work
closely and collaboratively with the community providers of the Community-Oriented
Correctional Healthcare System (COCHS), including with University Legal Services
(ULS), the United States Parole Commission (USPC) and Addiction Prevention and
Recovery Administration (APRA), to maintain effectual relationships befitting the inmate
population. Corizon will cooperate with ULS in assisting inmates in connecting with
Department of Behavioral Health’s Core Service Agencies and other providers in the
community as part of our discharge planning process.

Corizon Health has contracted with multiple CBE healthcare providers to grant them
more than 40 percent of the dollar amount of the primary contract, exceeding the
requirement set forth in the RFP. More specifically, we have committed to deliver more
than $30 million in CBE revenue to D.C.-based MBI Health Services, LLC, our partner

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 50 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 51 of 135

who will provide critical nurse staffing and behavioral health services. MBI has a proven
track record of providing quality healthcare services, as well as mentoring, training, job
placement, recovery group activity and outreach services to returning citizens. Another
local CBE, Business 2IT Solutions, will provide us with technology support.

We have also partnered with George Washington University Medical Faculty Associates
to implement cost-effective 24/7 telemedicine services, and have formal letters of
partnership intent signed by Family and Medical Counseling Service, Inc. and Mary’s
Center. Beyond that, as part of our planning and preparation for being awarded the
contract, we have contacted an array of other local healthcare centers with requests for
partnership to ensure we establish a broad community network.

Corizon Health advocates the philosophy that release-planning efforts begin during the
intake process and continue through the continuum of incarceration. Cognizant of this,
we will continue the practice of incorporating discharge planning into the intake process,
clinical assessing and planning treatment for all patients entering and leaving the DOC
system.

The fundamental goals of our discharge planning process committed to the DOC are:

To help reduce recidivism; —

To help increase public health and safety;

To assist the inmate patient in acquiring life skills they need to succeed in the
community;

To increase the inmate patient’s awareness of the symptoms of their illness;

To increase the inmate patient’s awareness of how to care for their illness post release;

To increase the inmate’s knowledge of the community resources available; and

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 51 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 52 of 135

To direct the inmate patient on where to go and how to access the care they need when
released.

Mr. Chairman, I sincerely hope these responses address your questions to your
satisfaction. Let me reiterate that we at Corizon Health have put our faith in the District’s
procurement process, and hope you and your colleagues on the Council will do the same.
Sincerely,

Woodrow Augustus Myers, Jr., MD Chief Executive Officer

ABOUT CORIZON HEALTH CORIZON

187. Health is the nation’s leader in correctional healthcare, providing quality
healthcare services to 50 clients at 431 facilities across the country serving over 321,000
inmates in 25 states. With its corporate headquarters in Brentwood, Tenn. Corizon Health
is the leading provider of correctional healthcare services in the United States. For more
information, please visit www.corizonhealth.com.

188. As the correctional healthcare pioneer and leader for 35+ years, Corizon Health
provides client partners with high quality healthcare and reentry services that will
improve the health and safety of our patients, reduce recidivism and better the
communities where we live and work. We are a company built on innovation and
expertise. Our people, practices and commitment to success through evidence-based
medicine enable us to consistently meet and exceed client expectations. See how Corizon
is serving the healthcare needs in both jails and prisons.

189. As the leading provider of correctional healthcare services in the United States,
Corizon Health is uniquely positioned to meet the needs of both our clients and our

patients. With the Corizon Health Vision, Mission and Values as our guide, we provide

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 52 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 53 of 135

quality service to our patients, successful partnerships with our clients and an engaging
work environment for our employees.

190. Corizon Health will lead the industry by providing quality healthcare and inmate
reentry services that ultimately improve the communities where we live and work.

191, Corizon Health will exceed our correctional healthcare clients’ expectations by
partnering with them to deliver safe, effective and efficient services using clinical best
practices and evidence-based medicine.

192. Safety. We put safety first in all that we do. Motivation. We take pride in
achieving excellence. We always strive to do better.

Accountability. We honor our commitments. We do the right thing regardless of the
situation.Respect. We treat every individual with dignity and compassion. We encourage
the growth, development and well-being of all employees. Teamwork. We value our team

diversity. Our differences, backgrounds and experiences make us better.

CHOOSING CORIZON HEALTH

193. There are nurses...and then there are Corizon nurses.
194. We have the right leaders with exceptional track records.
195. We don’t just practice healthcare in a correctional setting. We practice the

specialty of correctional healthcare.

196. We have an unmatched Clinical Services Department supporting the field to
deliver care precisely and affordably.

197. We have created one of the largest and best correctional pharmacies in the nation.

198. From county jails to statewide prison systems, we deliver for every client partner.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 53 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 54 of 135

199, We’re not just the biggest. We’re the best. Clinically-focused. Patient-centered.

Evidence-based.

200. We’re more than a vendor. We’re your partner.
201. Our client partners love working with us. You will, too.
202. Our number one focus is patient health and safety.

BENEFITS OF OUR SERVICES

203. As the leading provider of correctional healthcare services in the United States,
Corizon Health is uniquely positioned to meet the needs of both our clients and our
patients. With the Corizon Health Vision, Mission and Values as our guide, we provide
quality service to our patients, successful partnerships with our clients and an engaging
work environment for our employees.

204. We recognize that a collaborative effort between the medical and behavioral
healthcare providers is a key component of our delivery system and enhances the
outcomes of our patients. Because of the high rates of mental illness and the previously
unmet medical needs of the inmate population prior to incarceration, it is paramount to
embrace a delivery system of this type. For example, in order for the special needs of
individuals with chronic diseases such as HIV/AIDS, Hepatitis C, and cancer to be
managed optimally, all disciplines must work diligently together. This integration of care
by both the medical and behavioral health providers is a hallmark of Corizon Health’s
healthcare delivery system, whether we are the provider of comprehensive services or

solely the medical or behavioral health provider.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 54 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 55 of 135

205. Corizon Health provides quality healthcare services to our clients at 429 facilities
serving over 320,000 patients in 25 states. With its corporate headquarters in Brentwood,
Tenn. Corizon Health is the leading provider of correctional healthcare services in the
United States.

206. Corizon Health’s expertise in facilities accreditation can help you meet and
exceed the standards of local, state and national agencies. We have extensive experience
working with the National Commission on Correctional Health Care (NCCHC),
the American Correctional Association (ACA), the National Sheriffs Association,(NSA)
the American Jail Association,(AJA) the National Patient Safety Foundation(NPSF) and
multiple local and state organizations.

207. Whether or not a facility where we provide healthcare is accredited, awareness
and compliance are part of our employee orientation, training and continuing education.
NCCHC and ACA standards are the basis for our policy and procedures, as well as the
foundation of our clinical and operational programs. Because of this, Corizon Health has
a 100% success rate in obtaining and maintaining accreditation in every facility of ours in
which accreditation is required.

208. Corizon Health’s company culture includes an emphasis on open communication
and transparency, teamwork and accountability. These same goals provide the foundation
for our corporate commitment to a culture of patient safety.

209. Corizon Health recognizes excellence in patient safety as a journey, rather than a
destination. We are always striving to enhance the quality of the healthcare we deliver,

ever mindful of safety, efficacy and cost-effectiveness.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 55 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 56 of 135

210. Corizon Health has partnered with the National Patient Safety Foundation (NPSF)
with the core mission of “improving the safety of care provided to patients.” We are the
first correctional healthcare provider to be a member of the “Stand Up For Patient Safety”
organization and the only provider to have a Chief Quality Officer. Corizon Health is
committed to:

211. Enhancing teamwork and communication across the continuum of care at all
levels of the organization.

212. Seeking new resources to build organizational awareness for patient safety,
employee engagement and accountability.

213. Complementing current Corizon CE training with the NPSF Professional

Learning Series.

214. Facilitating Company-wide organizational learning and process improvements.
215. Participating in NPSF Annual Patient Safety Awareness Week.
216. Corizon Health has endorsed the NPSF report Free from Harm: Accelerating

Patient Safety Improvement Fifteen Years after To Err is Human. As an endorsement
organization we support and participate in the report’s strategic recommendations for
advancing progress in patient safety. Corizon Health is striving to achieve a meaningful,
proactive, total systems approach, balanced with Corizon SMART values, as a roadmap
to advance patient safety moving forward..

217. Corizon Health’s mission is to deliver safe, effective and efficient services using
clinical best practices and evidence-based medicine. But along the way, we want to be

effective and impactful members of the communities we call home. It starts with our

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 56 of 185
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 57 of 135

employees. Their compassionate hearts find numerous ways to contribute to a number of
programs, charities and other initiatives.

218. Whether it’s donations to local civic groups, running in local marathons or
campaigns to raise money and awareness for international cancer research organizations,
our employees show they care through a variety of outreach efforts. Our job is to provide
care. And we don’t limit that to correctional healthcare. We care about our employees,
our families and our communities. Listed to the left are some examples of Corizon Health
team members’ participation in local communities:

219. Importance of giving blood highlighted for Corizon Nurse Donating blood
recently became personal for a Corizon Health team member at Holmes Correctional
Institution in Bonifay (FL). Crystal Pearson, LPN, who coordinates blood drives at
Holmes CI, learned during a routine screening a few months back, that her blood level
was extremely low. She was immediately referred to an emergency room, where she was

given needed blood.

VENDOR DIVERSITY PROGRAM (VDP) DESCRIPTION

220. Corizon Health has a company-wide commitment to promote the
growth and development of qualified small, minority, women, and
disadvantaged owned businesses (“Diverse Businesses”). This program,
known as Corizon Health’s Vendor Diversity Program, supports and fosters
inclusiveness, diversity and economic development in the correctional

healthcare industry through identification and evaluation of Diverse

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 57 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 58 of 135

Businesses for contracting and procurement activities. Corizon Health is
dedicated to providing Diverse Businesses the opportunity to participate in
all areas of procurement, including vendor, provider and supplier activities.
221. Corizon Health has over 35 years of history working with local and
small business, as well as an annual spend of over $55 million with diverse
businesses across the country. Our efforts are designed to create and increase
business opportunities for all by promoting job development and economic
growth in the geographical areas where Corizon Health conducts business.
222. Corizon Health strives to conduct business in a fair and ethical manner
in keeping with its Code of Conduct and Business Ethics. The Corizon Health
Vendor Diversity Program applies to all firms or institutions regardless of the
business owner’s race, color, religion, gender, gender identity or expression,
sexual orientation, national origin, disability, age, or status as a special
disabled veteran or other veteran. The Corizon Health program complies with
all applicable federal, state and local laws, including anti-discrimination laws

and laws governing the use of Diverse Businesses.

223. Quality — We set high standards of performance for ourselves and the
services we deliver. We expect the same from our vendors, in areas such as
quality, responsiveness, service commitments and transparency. These
standards are detailed in the vendor contract agreement.

224, Customer Focus — We seek companies that are committed to the same

or better customer service goals and objectives.

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 58 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 59 of 135

225. Cost Savings — We seek vendors who continually focus on ways to help
us lower our costs through savings in all areas.

226. Innovative Business Solutions — We want companies to join our team
who are willing to work toward continuous quality improvement and more
efficient products and services.

227, Technology — We look favorably on companies who take advantage of

technology to maintain a competitive edge and improve their responsiveness.

MORE JURISDICTIONS DON’T RENEW CORIZON CONTRACTS -

INCLUDING BIG LOSS IN NEW YORK CITY

228. In June 2015, it was announced that two of Corizon’s Contracts —
Including Big Loss in New clients, the New York City jail system — including
Rikers Island — and the Allegheny County Jail in Pennsylvania, would not be
renewing their contracts with Corizon to provide medical services to.
prisoners. In both cases, the contracts were not renewed due to issues related
to the company’s performance.

229. The jails are at opposite ends of the size spectrum, with Rikers holding
approximately 11,000 prisoners and the Allegheny County Jail housing
approximately 2,000. Yet Corizon was unable to effectively manage either
facility, resulting in the loss of the contracts. Both New York City and

Allegheny County chose not to have the contract rebid to any of the other

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 59 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 60 of 135

large private medical care providers, such as Centurion, Naphcare or
Wexford Health Sources.

230. Additionally, according to an April 2015 news report, “since 2012,
Corizon has lost statewide contracts covering 84,000 inmates in Maine,
Maryland, Minnesota and Pennsylvania.” [See: PLN, March 2014, p.1].
Corizon also lost its contract to provide medical care in Tennessee prisons,
while the District of Columbia recently decided not to contract with the
company for its jail system and the Florida Department of Corrections is
rebidding Corizon’s medical care contract following reports of an increasing
number of prisoner deaths.

231. On June 10, 2015, New York City Mayor Bill de Blasio announced he
would not renew Corizon’s contract to provide healthcare at Rikers Island
and other city jails; the $126.6 million contract is set to expire on December
31, 2015. According to DNAinfo New York, the company’s contracts are
actually worth over $400 million. Corizon was awarded a $126.6 million
contract for management of medical services in the city’s jail system. The city
also awarded Correctional Medical Associates of NY (CMA of NY) a $270
million contract to provide health care to jail prisoners, and awarded
Correctional Dental Associates of NY (CDA of NY) $8.98 million to provide
dental care. CMA of NY has the same corporate address as Brentwood,

Tennessee-based Corizon, and prior to 2012, CDA of NY was registered as

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 60 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 61 of 135

PHS Dental Services, Inc. PHS, or Prison Health Services, was a predecessor
to Corizon. [See: PLN, July 2015, p.1].

232. Corizon (and previously PHS) had provided health care at New York
City jails since 2001. According to media reports, Corizon is allegedly
responsible for over a dozen prisoner deaths due to inadequate treatment.
The most recent contract, which was renewed in 2012, was awarded despite
poor performance by the company in prior years. Incredibly, New York City
officials agreed to indemnify Corizon from lawsuits to induce the firm to
renew its contract. The New York Times noted that Corey Johnson, a city
councilman who held hearings on health care at Rikers in March 2015, said
Corizon had been a “failure” and the city’s decision to indemnify the company

was “unconscionable.”

233. Corizon and government officials often note that health care for
prisoners is adequate so long as it meets a basic standard of care. At Rikers,
even the basic standard was not always met by Corizon. For example, a 20-
year-old prisoner who complained of chest pains and difficulty breathing for
several days received no treatment for his condition. The prisoner died of a
ruptured aorta. In another case, a 32-year-old prisoner complaining of
stomach pain and blood in his stools was not given medical care. Only after
other prisoners protested did he receive treatment. However, it came too late

and the prisoner died from a bacterial infection.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 61 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 62 of 135

234, The worst case of medical neglect at Rikers may be that of Bradley
Ballard. Ballard, a diabetic prisoner with severe schizophrenia, was placed in
a segregation cell on a mental observation ward on September 4, 2013 for
dancing by himself and folding a T-shirt into the shape of a phallic symbol
and waving it at a female guard. Little did Ballard realize that such simple,
non-violent acts would result in his death at the jail.

235. Ballard died a week later on September 11, 2013 after he was deprived
of insulin and locked in his cell without food or running water, including a
working toilet, for several days. The New York Times noted that a warden, an
assistant deputy warden, guards, doctors, mental health clinicians, nurses
and other jail employees made at least 57 visits to Ballard’s cell as he slowly
deteriorated. Despite his worsening condition, staff did nothing to assist him
despite the abhorrent stench of urine and feces emitting from his cell.

236. Though guards, doctors and other employees were visibly repulsed by
the smell, none would help Ballard. When medical personnel finally arrived
to remove Ballard from his cell, they handed two prisoner workers a blanket
and gloves and instructed them to go in and get him. The prisoners, covering
their faces due to the stench, said later that Ballard tried to move but was
unable to stand or walk. After he was placed on a gurney and wheeled into
the hallway, the medical staff saw that he had tied a rubber band tightly
around his genitals, where it had remained unnoticed until the flesh began

rotting.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 62 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 63 of 135

237. Ina subsequent lawsuit filed by Ballard’s family, the complaint noted,
“Mr. Ballard was clearly on the brink of death, yet he lay neglected on the
gurney,” and medical staff “held back, unwilling even to touch his body. For
an inexcusable period, they continued to stand idly by and do nothing.” The
complaint also stated that “On June 3, 2014 following an autopsy ... the
Medical Examiner declared Mr. Ballard’s death a homicide.” See: Griffin v.
City of New York, U.S.D.C. (S.D. NY), Case No. 1:14-cv-07329-NRB.

238. In June 2015, the New York City Department of Investigations (DO]
released the findings of its review of Corizon’s performance. The report
focused on mental health clinicians and aides employed by Corizon, and
noted alarming gaps in the company’s hiring procedures, including criminal
background checks. For example, a Corizon records clerk was arrested when
he was caught smuggling a straightedge razor into Rikers; investigators from
the DOI ran his prints and found he had done a 13-year stint in prison for
kidnapping. Another applicant listed as many as 13 prior criminal
convictions, but was hired without a detailed explanation regarding the
circumstances of the convictions. Other findings by the DOI included failures
to adequately check professional licenses, applicant references and prior
employment history. The report criticized Corizon for hiring employees who
had few qualifications or did not meet minimum qualifications for mental

health aide positions. It also faulted the city’s Department of Corrections for

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 63 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 64 of 135

requiring the company to obtain fingerprint cards from job applicants but
failing to process hundreds of the cards over several years.

239. Corizon’s CEO said he “would have preferred to stay in New York,”
adding, “If at all possible, one day we'd love to get back.” After Corizon’s
contract expiredat the end of the year, medical care for prisoners in New York
City’s jail system will be provided by the city’s public Health and Hospitals
Corporation.

240. Following eleven deaths within an 18-month period at the Allegheny
County Jail in Pittsburgh, Pennsylvania, county executive Rich Fitzgerald
announced that the jail’s contract with Corizon would not be renewed after
expiring at the end of August 2015.

241. In September 2013, Corizon was awarded a two-year, $23 million
contract to provide health care services to prisoners at the Allegheny County
Jail. However, problems with the company’s performance began almost
immediately. A prisoner jumped from a tier at the jail in October 2013 and
was severely injured; he was not transported to the hospital until the
following day. Within hours of his transfer, he died at the hospital from
injuries sustained in the fall. Early on in the contract there were problems
related to the proper and timely distribution of medication to prisoners, lack
of adequate recordkeeping procedures, and staffing cuts that resulted in

fewer registered nurses, physicians and mental health care personnel.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 64 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 65 of 135

242. In 2014 the jail recorded seven medical-related deaths, a rate well
above the national average for a facility of its size. The inadequate care
provided by Corizon resulted in health care workers organizing with the
United Steel Workers of America (USW). That process became mired in
litigation against Corizon when, in February 2014, a Catholic nun who
worked as a registered nurse at the jail was allegedly fired for union
organizing activities. Sister Barbara Finch was dismissed after she openly
expressed concerns at a meeting regarding patient safety and care. The USW
filed an unfair labor complaint against Corizon over Finch’s dismissal, and a
settlement was eventually reached that allowed her to retain her job. [See:
PLN, March 2014, p.1].

248. During the first five months of 2015, four more prisoners died due to
health care-related issues. The first was Frank Smart, Jr., 39. Despite telling
staff that he needed his seizure medications, Smart was told he would have
to wait a few days. He died within 48 hours of his arrival at the jail;
according to a medical examineyr’s report, his death was caused by a seizure
disorder and being “physically restrained in [a] prone position.” One of
Smart’s nine children, Tiara Smart, filed a wrongful death suit against
Corizon and the county in Common Pleas Court in July 2015.

244, Allegheny County Controller Chelsa Wagner conducted an audit of
Corizon’s contract. The audit, released in December 2014, cited 14 areas in

which the company allegedly failed to perform contractually-required

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 65 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 66 of 135

services, ranging from failure to ‘maintain emergency equipment and
inadequate staffing to long delays in providing prisoners with physical exams
and medication. [See: PLN, March 2015, p.30].

245. Apparently fed up with the many problems related to Corizon’s
performance, Allegheny County decided not to renew its contract with the
company. As of September 1, 2015, the Allegheny Health Network began
providing medical care at the jail.

246. At the El] Paso County Jail in Texas, Corizon had held the contract for
health care services since 2009. However, county officials began negotiations
with the University of Texas Health System and the Emergence Health
Network of El Paso to provide prisoner medical and mental health services at
the facility. Corizon’s contract expired and the company was granted a six-
month extension until December 31, 2015 to continue to provide medical care
for prisoners. The expired contract was worth approximately $8 million per
year.

247. In Santa Barbara County, California, the county’s contract with
Corizon expired on June 30, 2015. Although jail officials wanted to renew the
contract, county commissioners granted only a 4-month extension, putting
the $9.8 million annual contract on hold. At issue was deaths of prisoners at
the facility, complaints of understaffing and medication shortages.

248, One of the prisoners who died, Raymond Herrera, 52, was serving 10

days in jail for probation violations. According to a news report, he started

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 66 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 67 of 135

having convulsions in his cell in June 2015, then passed out, hit his face
against a railing and had another seizure. He was “eventually” taken to a
hospital, where he died due to a ruptured spleen caused by cirrhosis of the
liver. A local group, Families ACT!, claimed that substandard care by Corizon
employees was a contributing factor in Herrera’s death.

249. In a June 2015 interview with The Marshall Project, Corizon CEO Dr.
Woodrow Myers noted that losing contracts is part of the business. When
asked about contract losses at Rikers Island and in Maine, Minnesota,
Pennsylvania and Maryland, Myers replied, “It’s a lumpy business, you win
some, you lose some.”

250. That attitude may well describe the outcome of the smaller contracts
in Allegheny, El Paso and Santa Barbara counties, but for a company that
has had its rating repeatedly downgraded by Moody’s, a research and risk
assessment agency, the loss of the $400 million Rikers Island contract may be
more problematic. In Moody’s last downgrade of Corizon’s bond rating in
August 2014, the agency stated, “The rating action reflects the company’s
continued operating performance weakness and the further deterioration of
credit metrics beyond Moody’s previous expectations, attributable to recent
contract losses, margin declines from competitive pricing pressure on
renewed contracts, and delays in the realization of earnings from certain

start-up contracts.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 67 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 68 of 135°

251. A Birmingham, Alabama health care company has taken over medical
care at the Washington County jail in Hillsboro, Oregon in the wake of a
scathing audit that led county officials to terminate a contract with Corizon
Health two years early. The audit found that a lack of county oversight of the
Corizon contract resulted in inadequate prisoner medical care and cost the
county hundreds of thousands of dollars.

252. Birmingham-based NaphCare, Inc. assumed control over health care
at the jail on June 1, 2015 under a contract to provide services to the
approximately 570 prisoners at the facility.

253. “We are eager to embark on this partnership with NaphCare. They are
an organization that shares our commitment to value-driven service while
providing progressive medical care within our jail,” Sheriff Pat Garrett said
in a statement.

254. In addition to selecting a new provider for jail health services, county
officials stripped the Washington County Department of Health and Human
Services of its responsibility for overseeing the contract, instead appointing
the county Finance Department to do so.

255. A 34-page report issued by County Auditor John Hutzler in November
2014 deliberately avoided directly evaluating the quality of prisoner
healthcare at the jail, instead pointing out inadequacies based on what the

audit found in the county’s monitoring of the Corizon contract.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 68 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 69 of 135

256. “Evaluating the quality of care provided to inmates was beyond the
scope of this audit, and we express no opinion on the quality of care
provided,” the report stated. However, it added, “We did review the processes
implemented by the contract administrator to monitor quality of care and
concluded they did not provide the County with reasonable assurance that
quality care was being provided.”

257. News reports published in The Oregonian described lawsuits against
the Washington County jail, including one filed by former prisoner Alexander
Heap, 34, alleging medical negligence. Heap filed suit in federal court in
March 2014 against the county, Corizon and several jail medical workers and
guards, claiming he was mistreated during his approximately three-month
incarceration at the facility.

258. His complaint alleged the jail had a defective health care policy, and
that jail staff and Corizon were negligent and intentionally inflicted
emotional distress by denying and delaying medical treatment.

259. “This is not unusual behavior at Washington County jail,” the
complaint said. “The jail does not give inmates or pretrial detainees medical
attention when it is needed, instead ignoring inmates’ medical issues.” Heap
settled his lawsuit with Corizon in February 2015. See: Heap v. Wortham,
U.S.D.C. (D. Ore.), Case No. 3:14-cv-00105-ST.

260. In another lawsuit filed in May 2014, former prisoner Marco Antonio

Jiminez Ramos claimed he was forced to take the wrong medications while he

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 69 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 70 of 135

was held at the Washington County jail over a five-week period starting in
mid-March 2013, which caused a myriad of additional health problems. His
lawsuit accused jail officials of violating his Fourth, Eighth and Fourteenth

Amendment rights.

261. “Defendants’ unlawful acts and omissions caused plaintiff extensive
damages, including vomiting blood, defecating blood, loss of appetite, extreme
panic attacks, pain and suffering, humiliation, mental and psychiatric
problems, anxiety, nervousness, fear, trauma, emotional distress, paranoia,
depression, nightmares, and related serious medical needs,” the complaint
stated. Ramos settled his suit in December 2014. See: Ramos v. Washington
County, U.S.D.C. (D. Ore.), Case No. 3:14-cv-00778-BR.

262. Instead of citing health care inadequacies directly, Hutzler’s audit
focused on staffing violations that created inadequate conditions at the jail,
using a budgetary analysis to make the point. The audit found that Corizon
and jail officials had violated the terms of their contract by failing to properly
monitor prisoner health care.

263. “The contract ... required that all jail healthcare services be reviewed
and evaluated for quality of care through established and regularly
performed audits,” the report stated. “We found no evidence that these audits
had been performed. Although [Corizon] represented that it had a quality
assurance program, it did not report the results of its quality assurance

audits to the MAC (Medical Audit Committee) or the contract administrator.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 70 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 71 of 135

' 264. Further, Hutzler cited the contract administrator — an individual he
later refused to name — for failing to ensure that Corizon kept an adequate
number of qualified employees on duty at the jail during all shifts. As a
result, the administrator “did not require the contractor to report staffing in
sufficient detail to determine whether staffing specifications were met or
whether the staffing actually provided was adequate to ensure quality of
care.”

265. Consequently, the audit continued, Corizon was paid for health care
services it did not provide. “We estimate the value of the minimum specified
staffing that the county didn’t receive between July 1, 2008, and June 30,
2012, to be at least $350,000,” Hutzler wrote. The county was forced to pay
additional costs for outside medical care when Corizon staffers were not on
duty.

266. “Failing to enforce minimum staffing requirements may also have
increased other County costs for jail healthcare,” the audit stated. When the
Medical Director’s hours dropped more than five hours below what was
required by the contract, “the average number of referrals to external
physicians was 42% higher, and the average number of deputy transports for
medical care was 48% higher,” according to the report. “Deputy transports,
and additional hospitalizations, ER visits, external referrals and
pharmaceutical expenses resulted in additional costs to the County beyond

the contract fee.”

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 71 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 72 of 135

267. The audit further found that the contract with Corizon created cost
overruns because it was not administered in accordance with the county’s
guidelines and best practices, it contained certain terms that did not
adequately protect the county’s interests, and the county didn’t forecast and
include sufficient funds in the jail’s budget to cover all costs.

268. Corizon was entitled to a four-year extension of its $8 million two-year
contract, but the audit led county officials to cut the extension in half until
competitive bids could be sought to improve medical care at the jail.

269. One condition of Washington County’s new. contract with NaphCare is
that the company is subject to accuracy checks from a third-party auditor
who will examine hospital billings. The contract also tightens budgetary
controls and health service requirements, and includes specific staffing
criteria for day and night shifts at the jail. Such contractual provisions are a
good idea considering that NaphCare, a for-profit company, has the same
business model as Corizon and thus the same financial incentives to skimp on
staffing and medical care for prisoners.

270. In the wake of seven prisoner deaths and subsequent lawsuits, prison
healthcare provider Corizon has decided to not seek renewal of its contract at
Kentucky’s Metro Corrections in Louisville.

271. For much of the last two decades, Corizon has been Metro Corrections’

provider of prisoner healthcare. Its decision to walk away from its $5.5

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC - No: 23-
90086 (CML) Page 72 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 73 of 135

million annual contract comes on the heels of the deaths of seven sick
prisoners in the last year.

272. Three lawsuits have been filed in recent months, contending Corizon
staff ignored or dismissed prisoners’ complaints and doctors were slow to
review the prisoners’ conditions or to send them to a hospital.

273. A lawsuit filed in August on behalf of the family of Samantha George
alleges that when she was taken to Metro Corrections on a charge of buying a
stolen computer, she informed a nurse that she was a severe diabetic, needed
insulin, and was feverish and in pain from a MRSA infection. She was so ill
she was unable to keep water down.

274, The nurse contacted Corizon’s on-call doctor to suggest George be sent
to a hospital. To avoid that expense, the doctor said he would see George the

' next day. He never followed up on the matter.

275. George’s mother, Theresa, called Metro Corrections to advise them of
the serious of her daughter’s condition, which required insulin hourly. “They
said ‘I’m looking at her right now and she’s fine,” said Theresa George. “Four
hours later, she was dead.

276. Samantha George was found unresponsive in her cell on August 8,
2012, and was pronounced dead after being taken to a local hospital. It was
concluded that she died of complications from a severe form of diabetes,

compounded by heart disease.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 78 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 74 of 135

277. Weeks after George’s death, prisoner Kenneth Cross died at Metro
Corrections. He was arrested after a traffic stop that occurred while a friend
was taking him to a hospital for an overdose. The arresting officers believed
Cross was faking the overdose, so they took him to Metro Corrections on a
warrant for a drug possession charge.

278. The booking nurse noted Cross had “slurred speech” and fell asleep
“several times during his interview.” He was placed in a cell, where he was
found unconscious hours later. A short time later he was pronounced dead; a
medical examiner noted the cause of death as a drug overdose.

279. “Nodding off... clearly should raise a red flag in the case of someone
who was arrested for drug possession,” said Cross family attorney Gregory
Belzley. “Either hospitalize him or put him under very careful observation in
which he was not allowed to go to sleep.”

280. The Cross case is similar to the April 2012 death of Savannah Sparks,
27, She died from opiate abuse and withdrawal only six days after entering
Metro Corrections.

281. A December 2012 email from Metro Corrections Director Mark Belton
advised his staff, “Mistakes were made by Corizon personnel and their
corporation has acknowledged such mistakes.” Six Corizon employees
resigned amid an investigation into the deaths. With Corizon being out of its

contract, a new contract will be selected amongst six proposed bidders.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 74 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 75 of 135

WEXFORD HEALTH SOURCES WAS PRIOR TO CORIZON AND IT USED

THE CORIZON MODEL RESULTING IN THE CONTRACT CANCELLED

282. September 21, 2012 Arizona Department of Corrections wrote to Karen
Mullenix Wexford Health Sources 1850 N. Central Avenue, Suite 1050
Phoenix, Arizona 85004 stating that

e The purpose of this letter is notify you of a potential monetary sanction of ten
thousand dollars ($10,000.00) to be imposed for non-compliance with the
terms and conditions of the above referenced contract between Wexford
Health Sources (“Wexford”) and the Arizona Department of Corrections
(“Department”).

e The action is being made in accordance with the contract’s Special Terms and
Conditions, Section 2.19 Contract Monitoring General Requirements,
paragraph 2.19.6 which states:

e 2.19.6 If non-compliance issues are identified or discovered, during a
quarterly audit required under Section 2.20 or any other monitoring activity,
whose gravity or severity cannot be mitigated by the Contractor’s ability to
bring its performance back into compliance at a future date, the Department
Contract Monitor shall notify the Contractor’s Arizona CEO and Area
Manager in writing that the matter shall be referred to the Chief
Procurement Officer to take action against die Contractor, including but not
limited to monetary sanctions, suspension, refusal to renew, or termination of

the Contract.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 75 of 1385
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 76 of 135

e This matter is being referred to the Chief Procurement Officer for immediate

adverse action for, but not limited to, the following reason(s):

An act of indifference that disregards a known and excessive risk to an

inmate’s health or safety or violates an inmate’s civil rights.

* Failure to substantially meet an essential standard of the National .
Commission on Correctional Health Care (“NCCHC’”), to the extent that the
Contractor’s ability to bring its performance back into compliance at a future

date does not mitigate the gravity or severity of the non-compliance.

* Substantial failure to provide medically necessary services that the
Contractor is required to provide under the terms of a Contract resulting
from this Request for Proposal to the extent that the Contractor’s ability to
bring its performance back into compliance at a future date does not mitigate

the gravity or severity of the non-compliance.

* Non-compliance identified or discovered, during a monitoring activity, whose
gravity or severity cannot be mitigated by the Contractor’s ability to bring its

performance back into compliance at a future date.

¢ Failure to provide accurate and timely information to the Department or

NCCHC.

° Failure to comply with any other NCCHC standards not identified in the
contract.

e The circumstances are as follows:

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 76 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 77 of 135

i. On August 27, 2012, between approximately 0600 and 0630 hours,
while conducting diabetic insulin line in the medical unit at ASPC - Lewis -
Morey Unit, Licensed Practical Nurse (LPN) N. Nwaohia contaminated a vial
of insulin being used on the line. This contamination occurred when LPN
Nwaohia drew insulin with a syringe for a Hepatitis-C positive inmate from a
vial of "Regular” insulin and injected this insulin into the inmate. Utilizing
the same syringe, she then drew a second dose of insulin from a vial of
“Lantus” insulin and injected the secondary dose into the same inmate. LPN
Nwaohia’s actions contaminated the multi-dose "Lantus” vial. This vial was
then utilized to provide insulin to other insulin dependent inmates.

ii. Despite Wexford Nurse Lindsay Stephen becoming aware of this
information on August 27, 2012, she did not file a report on the event until
September 4, 2012. Rather, on August 27, 2012, she disposed of the insulin
vials thought to have been involved in the contamination event and said
nothing of the possible contamination event or her actions in destroying the
insulin vials.

lii. In speaking with Wexford Site Manager Sumi Erno on September 7,
2012, she reports contacting Wexford Regional leadership on August 28,
2012, specifically, Linda Maschner to report the incident to her. Ms. Erno.
reported being directed by Ms. Maschner to begin identifying IDDM inmates
so baseline testing of them for Hepatitis-C could commence. As a precaution,

baseline testing was also conducted for HIV. (The index inmate, although

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 77 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 78 of 135

known to be positive for Hepatitis-C, was subsequently tested for both
Hepatitis-C and HIV.) Pending receipt of those test results, plans were
implemented to test all inmates potentially exposed through this event for
both Hepatitis-C and HIV. Test results for the index inmate later confirmed
him as positive for Hepatitis-C and negative for HIV.

iv. In identifying these inmates, Ms. Erno initially reported on August 28,
2012, as having 105 inmates at Lewis that receive insulin. This number later
changed to 103, based on a spreadsheet created by Wexford medical
personnel at the Lewis Complex listing inmates receiving insulin at Lewis. In
review of this list duplication of some inmates was noted, thus the 103
number derived from this list was determined questionable.

v. Additionally, the Department received a report from Wexford
generated from the online reporting system of their subcontracted Pharmacy
(Diamond Pharmacy Service) on September 5, 2012, which reflected 91
inmates receiving insulin at Lewis. In an email coinciding with the provision
of this report, Wexford Director Karen Mullenix, stipulates the report was
generated by Wexford’s Site Manager at Lewis (Sumi Erno) and that she
(Mullenix) has concern with the information Ms. Erno has provided thus far.
vi. Due to the continued fluctuation of information from Wexford
regarding the number of potentially impacted inmates and the clear lack of
systems in place to readily identify insulin dependent inmates/chronic care

inmates, ADC deployed the following resources to ASPC-Lewis to support

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 78 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 79 of 135

Wexford and ensure all possible data sources were culled to determine a true

number of potentially affected inmates:

* On September 5, 2012 ADC deployed an Audit Nurse Supervisor and an

Audit Nurse

* On September 6, 2012, ADC deployed an Audit Nurse Supervisor, two Audit

Nurses, a Pharmacy Monitor, Contract Monitor, and administrative support

* On September 7, 2012, ADC deployed an Operations Director, an Audit
Nurse Supervisor, Contract Monitor and administrative support

e On September 6 and 7,2012, ADC Health Service personnel and Wexford’s
Site Manager Sumi Erno and Director of Nursing Nicole Armenia reviewed.
inmate Medical files/charts, Medical Administration Records and Diamond
Pharmacy’s ORP system; conducting comparative review of each to arrive at
a comprehensive accounting of the total number of inmates thought to be on
insulin. Upon conclusion of the review on September 6, 2012, the total
number of inmates was determined to be 111.

e On September 7,2012, one additional insulin dependent inmate was
identified who had not been previously identified increasing the total number
to 112. This inmate was housed in the Inpatient Clinic which maintains its
own/separate supply of insulin; thus this inmate would reportedly not have
been affected by the cross contamination incident.

e Of the 112 identified inmates, eight inmates were determined to not have

received insulin on September 27, 2012, as they were being treated with

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 79 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 80 of 135

medication that did not require injection. Additionally, seven inmates were
determined to have been “no shows" for insulin line on August 27,2012. Two
showed for insulin line, but refused their insulin medication.

e Based on this data, it was determined that 94 inmates were at risk from the
contamination of the “Lantus” insulin vial.

e Despite information to indicate that some inmates may not have been
exposure candidates, such as the aforementioned that didn’t show up for
insulin line or refused insulin and/or where known carriers of Hepatitis C
prior to the exposure event in conjunction with threat of HIV having been
eliminated through HIV testing of inmate involved in the initial
contamination event, it was determined during a teleconference with Jim
Reinhart and Dan Conn on September 7,2012 that all 112 identified inmates
would be baseline tested. This was prudent, based on the noted lack of
records management, specifically the inability to readily identify chronic care
insulin dependent inmates and the inability to locate Medication
Administration Records for five inmates appearing on the list.

e Baseline testing occurred at ASPC - Lewis as follows:

* August 29, 2012 - 1 Blood Draw
¢ August 30,2012 - 40 Blood Draws
* August 31, 2012- 23 Blood Draws

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 80 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 81 of 135

¢* September 5,2012 - 4 Blood Draws
° September 6,2012 - 10 Blood Draws

* September 7,2012 -29 Blood Draws

Total: 107 Blood Draws

e Three inmates appearing on the list were transferred to Kingman before
their blood could be drawn at Lewis and ADC made arrangements to have
ASP - Kingman Medical complete blood draws on these inmates which were
completed by September 10, 2012. ADC also made arrangement for these
inmates to be provided information regarding the contamination event
necessitating the testing through Kingman medical personnel.

e One inmate at Lewis refused to have his blood drawn and one other inmate
was released prior to testing. Nicole Armenta, Wexford Director of Nursing at
Lewis reported she had telephoned the released inmate’s home and left a
message for the inmate to contact her to arrange testing. As of September 11,
2012 there had been no known direct contact via Wexford with this inmate.
On September, 11, 2012, ADC initiated contact with this released inmate
through the Community Correction Bureau. The offender’s assigned
Community Corrections Officer conducted a site visit at the offender’s home,
during which the offender telephoned the ADC Contract Monitor at Lewis in
the presence of his Community Corrections Officer. The offender informed the

Monitor that he had not taken any insulin on August 27, 2012 prior to being

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 81 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 82 of 135

released. The offender was offered testing in accordance with the exposure
protocol, which he declined and signed a Refusal to Submit to Treatment
form 1101-4 on September 17, 2012, which was countersigned by his assigned
Community Corrections Officer as a witness. Upon completion of the
aforementioned testing, 110 of the potentially affected inmates completed
baseline testing, and accounting for the two refusals, all 112 identified
inmates have either been tested or offered testing.

e The aforementioned significant issues require corrective action. In accordance
with the contract’s Special Terms and Conditions, Section 2.19 Contract
Monitoring General Requirements, paragraph 2.19.7, you have ten (10)
calendar days to appeal in writing disputing a finding of non-compliance that
results in either a cure notice or a decision to refer the matter to the Chief
Procurement Officer for action.

283. A second letter dated September 21, 2012 from Arizona Department of
Corrections to Karen Mullenix Wexford Health Sources 1850 N. Central
Avenue, Suite 1050 Phoenix, Arizona 85004 states that The purpose of this
letter is notify you of details of non-compliance, required corrective actions,
and timeline for action to the above referenced contract between Wexford

Health Sources (“Wexford”) and the Arizona Department of Corrections

“ADC ”) .

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 82 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 83 of 135

e The action is being made in accordance with the contract’s Special Terms and
Conditions, Section 2.19 Contract Monitoring General Requirements,
paragraph 2.19.5, which states:

e If non-compliance issues, other than those identified in Subsection 2.19.6, are
identified during a quarterly audit required under Section 2.20, or any other
monitoring activity, the Department Monitoring Staff shall provide a written
cure notice to the Contractor’s Arizona CEO and Area Manager regarding the
details of the non-compliance, the required corrective action, and the period
of time allowed to bring performance back into compliance with Contract
requirements.

e If, at the end of the specified time period, the Contractor has complied with
the cure notice requirements, the Department shall take no further
action.(2.19.5.1)

e If, however, the Contractor has not complied with the cure notice
requirements, the Department Contract Monitor shall notify the Contractor’s
Arizona CEO and Area Manager in writing that the matter shall be referred
to the Chief Procurement Officer to take action against the Contractor,
including but not limited to monetary sanctions, suspension, refusal to
renew, or termination of the Contract. (2.19.5.2)

e Several events detailing significant issues of non-compliance are described

below:

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 83 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 84 of 135

1. August 17, 2012, ASPC-Perryville/Lumley Unit

e On August 17, 2012, Wexford nursing personnel were distributing medication
on Lumley Unit - Yard 24 to include “watch swallow” medications. In
accordance with “watch swallow” protocols, certain medications in powder
form require administration to be completed via “floating” the medication in a
small cup of water, which the patient drinks. During this distribution of
medication, Wexford nurses depleted their stock of cups prior to completing
medication distribution to the inmate population. Wexford nurses tailed to
stop the medication line and retrieve additional plastic cups, as would have
been appropriate. Rather than refilling the supply of cups, a Wexford nurse
placed the powdered “watch swallow’ medication in an inmate’s hand,
directing the inmate to lick the powdered medication from her own hand.

e This improper administration of medication instigated disorderly behavior by
the affected inmate, requiring a security response. The nurses’ disregard for
proper protocol in administering this inmate’s medication and their
disrespect for the inmate are significant non-compliance issues that require

corrective action.

2. August 22, 2012, Medication Expiration Report (Statewide)

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 84 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 85 of 135

e During the month of August 2012, ADC conducted random reviews of
prescriptions, utilizing the Medication Expiration Report published by
Wexford for July 1 - August 11, 2012. In completing this review, ADC learned
that a significant number of inmates may not have been receiving their
medications as prescribed due to expired prescription(s) and inappropriate
renewals or refills. Approximately 8,358 prescriptions required review and

potential renewal to ensure inmates received their required medications.

e Wexford’s lack of communication to its field supervisors regarding the
necessary process for reviewing the Medication Expiration Report for renewal
of medication, together with Wexford’s delayed response and lack of urgency
to correct the identified problem, contributed to this significant non-
compliance issue. Specifically, during a meeting on August 22, 2012, between
ADC’s Monitoring Bureau leadership and Wexford Regional and Corporate
personnel, it was apparent, based on statements from Wexford’s Corporate
Pharmacist, Denise Mervis, Pharm.D., that Wexford was aware of the
expired medication issue, but had not taken adequate, if any, action to correct
it. In this meeting, Dr. Mervis referred to the expired medication renewals as
a critical issue.

e When asked on August 22, 2012 what actions Wexford had undertaken to
correct this problem, Wexford leadership advised that they intended to

conduct an initial review of the July 1, 2012 - August 11, 2012 Medication

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 85 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 86 of 135

Expiration Report beginning August 27, 2012. Wexford's decision to wait five
days to begin reviewing the Medication Expiration Report was an inadequate
response to a significant issue of grave concern to ADC. As a result of
Wexford’s delayed response, ADC deployed State resources on August 23,
2012 to ADC prison complexes statewide to review various data sources in an
effort to identify inmates in need of medication renewal and to ensure that
renewal actually occurred. Multiple ADC prison complexes also enhanced
security vigilance by increasing the rate of security checks to 30-minute

intervals on all inmates to ensure the well-being of the inmate population.

3. August 23, 2012, ASPC-Florence/ Central Unit

e On August 23, 2012, an inmate was found hanging from a sheet in his
housing location. ADC staff removed the sheet, placed the inmate on a
gurney, and arranged for air transport to an outside hospital. The inmate
(MH-3) was last seen by an ADC psychiatrist provider on May 1, 2012. At
that time, the provider prescribed lithium carbonate, a “watch swallow”
medication used as a mood stabilizer, for 180 days. Medication
Administration Records (MARs) showed this inmate received his medication

in May, June, and July. On July 18, 2012, during a psychiatric follow-up, the

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 86 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 87 of 135

inmate reported that the lithium carbonate had been helpful in stabilizing
his mood. During ADC’s investigation of this incident, ADC determined that
this inmate had not received his psychotropic medication for the first 23 days
of August 2012, as evidenced by the feet that no MAR had been generated.
Failing to deliver psychotropic medication as prescribed is a significant, non-

compliance issue.

4, August 27, 2012, ASPC-Lewis/ Morey Unit

e On August 27, 2012, between approximately 0600 and 0630 hours, while
conducting diabetic insulin line in the medical unit at ASPC - Lewis - Morey
Unit, Licensed Practical Nurse (LPN) N. Nwaohia contaminated a vial of
insulin being used on the line. This contamination occurred when LPN
Nwaohia drew insulin with a syringe for a Hepatitis-C positive inmate from a
vial of “Regular” insulin and injected this insulin into the inmate. Utilizing
the same syringe, she then drew a second dose of insulin from a vial of
“Lantus” insulin and injected the secondary dose into the same inmate. LPN
Nwaohia’s actions contaminated the multi-dose “Lantus” vial. This vial was
then utilized to provide insulin to other insulin dependent, inmates.

e Despite Wexford’s Nurse Lindsay Stephen becoming aware of this
information on August 27, 2012, Ms. Stephen did not file an Incident Report

on the event, in accordance with ADC policy, until September 4,2012. Rather,

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 87 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 88 of 135

on August 27,2012, she disposed of the insulin vials thought to have been
involved in the contamination event and failed to notify Wexford
management or appropriate ADC staff of the contamination event or her
actions in destroying the insulin vials.

e Wexford Site Manager Sumi Erno reported contacting Wexford Regional
Manager Linda Maschner on August 28, 2012, to report the incident to her.
Ms, Erno reported being directed by Ms. Maschner to begin identifying
Insulin Dependent Diabetes Mellitus (IDDM) inmates so that baseline
testing for Hepatitis-C could commence. As a precaution, baseline testing was
also conducted for HIV. (The index inmate, although known to be positive for
Hepatitis-C, was subsequently tested for both Hepatitis-C and HIV.) Pending
receipt of those test results, plans were implemented to test all inmates
potentially exposed through this event for both Hepatitis-C and HIV. Test
results for the index inmate later confirmed him as positive for Hepatitis-C
and negative for HIV.

e Also, on August 28, 2012, upon direction of Wexford Management, Wexford
RN Supervisor Sienkiewicz contacted AB Staffing, the subcontracted
employer of LPN Nwaohia. Ms. Sienkiewicz reportedly advised AB Staffing
that LPN Nwaochia would be prohibited from performing nursing services in
support of Wexford contracts in the state. Wexford requested that AB
Staffing file a complaint with the Arizona State Board of Nursing regarding

LPN Nwaohia’s actions. One week later, on September 4, 2012, while

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 88 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 89 of 135

following up at ADC’s request, Wexford learned that no complaint regarding
LPN Nwaohia had been received by the Board. Wexford Regional Manager
Maschner then formally submitted the complaint on the afternoon of
September 4, 2012.

e In identifying IDDM inmates, Ms. Erno initially reported on August 28, 2012,
as having 105 inmates at Lewis that receive insulin. This number later
changed to 103, following review of a spreadsheet created by Wexford medical
personnel at the Lewis Complex listing inmates receiving insulin at Lewis. In
review of this list, duplication of some inmates was noted, thus the 103
number derived from this list was determined questionable.

e Additionally, the Department received a report from Wexford generated from
the online reporting system of their subcontracted Pharmacy (Diamond
Pharmacy Service) on September 5, 2012, which reflected 91 inmates
receiving insulin at Lewis. In an email coinciding with the provision of this
report, Wexford Director Karen Mullenix, stipulated that the report was
generated by Wexford’s Site Manager at Lewis (Sumi Emo) and that she
(Mullenix) had concerns with the validity of the information Ms. Erno had
provided thus far.

e On September 5, 2012, during a meeting with inmates at ASPC-Lewis, an
additional 9 inmates not previously identified by Wexford were added to the

list of those potentially exposed.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-
90086 (CML) Page 89 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 90 of 135

e Due to the continued fluctuation of information from Wexford and the lack of
systems in place to readily identify insulin dependent/chronic care inmates,
ADC deployed additional compliance monitoring staff to ASPC-Lewis on
September 5, 6, & 7. Wexford did not deploy additional resources to the site
until September 6, 2012. It was not until Friday, September 7, 2012, that the
total population of insulin dependent inmates and the subset of potentially
exposed inmates were identified with certainty. Further, baseline testing of
this population was not completed until September 10, 2012, despite
Wexford’s earlier reporting that this had been completed on September
4,2012.

e The failure to follow established nursing protocols, poor record keeping,
mismanagement of documentation, inadequate and _ inaccurate
communication, lack of timely managerial or administrative support, and
failure to ensure that corrective action had been completed represent serious

issues of non-compliance.

5. September 18, 2012, ASPC-Perryville/Santa Rosa Unit

e On September 13, 2012, at approximately 1715 hours, Wexford Director
Karen Mullenix notified ADC of a possible case of pertussis (whooping cough)
at ASPC-Perryville. Wexford management did not know the name(s) or

number(s) of inmate(s) affected, or the unit(s) identified with the reported

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 90 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 91 of 135

case. Wexford’s notification of the reported pertussis case was inadequate and
inconsistent. Further, without sufficient factual detail of the incident,
Wexford reported no action plan to address the situation.

e Ms. Mullenix further reported that Wexford’s Dr. Palmer spoke to both the
County and State Health Departments about the case. She also reported that
Dr. Bell (Regional Medical Manager) was called about this issue two days
prior, September 11, 2012, and although he was aware of the potential
diagnosis, that information had not been communicated to either Ms.
Mullenix or the ADC Site Monitors. ADC Audit Nurse Mendoza contacted
Wexford facility personnel and determined that an inmate tested positive for
pertussis on August 13, 2012, approximately 30 days prior to Wexford’s
notification to ADC. ADC Audit Nurse Mendoza also confirmed the inmate’s
name, number and location.

e In a phone conversation later that evening with Site Manager Deb Cherry
and Richard Pratt, ADC Interim Assistant Director, Health Services
Monitoring Bureau, it was reported that Dr. Palmer had seen the inmate who
tested positive for pertussis approximately 10 days prior to Wexford’s
notification to ADC. Ms. Cherry also advised she was aware of this issue up
to 10 days prior and failed to advise either Ms. Mullenix or ADC Site
Monitors at that time. During ADC’s investigation, Ms. Cherry speculated
that the patient may have unknowingly contracted the disease through

inmate visitation in the past few weeks, as the inmate was later contacted by

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 91 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 92 of 135

her visitor to advise she or her child had been diagnosed with pertussis. Ms.
Cherry also reported that Dr. Palmer contacted the County Health
Department regarding the case and that she ordered 25 test kits from the
Maricopa County Health Department to test any additional suspected cases
of pertussis. That, in fact, was not the case. Ms. Cherry sent an
“undeliverable” e-mail to the County’s website, requesting the test kits.

e A known case of a reportable infectious disease went unreported to ADC staff
and Wexford State Level Management for 30 days, indicating a lack of
urgency, a lack of awareness of the situation’s potential seriousness, a
breakdown of communication between field personnel and management, or
all of the above. Further, Wexford’s failure to independently engage in
developing a plan by which to identify/confirm current and future suspected
cases of pertussis is a significant non-compliance issue.

e The aforementioned significant events have necessitated ADC to
substantially supplement Wexford with personnel resources, operational
modifications, and specific direction that should not be expected and are not
required under this contract. ADC expects Wexford to effect sustained,
systemic operational improvements in the management and delivery of
health care services to ADC inmates. ADC is not contractually obligated to
deploy its resources to manage Wexford’s day-to-day, as well as crisis

operations.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC. No: 23-
90086 (CML) Page 92 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 93 of 135

CENTURION FOLLOWS CORIZON AND IS PRECEDED BY NAPHCARE

USING THE CORIZON MODEL

284, Centurion has followed the evolution of the ADC healthcare program
for many years, and we are grateful to have had the opportunity to engage
with the ADC over the years and to participate in the previous RFPs in 2012
and 2016. We are well aware of the current challenges faced by the ADC in
relation to the Parsons v Ryan litigation and the stringent service
requirements and auditing processes tied to the stipulation agreement. Our
conversations and dialogue with the ADC provided us with a better
understanding of and appreciation for the ADC’s goals and objectives, the
challenges it has faced over the past few years in providing quality services to
its inmate population, and its requirements and expectations.

285. The ADC’s current RFP has provided us with continued opportunities
to place the ADC’s scope of work within a better financial and strategic
framework. We applaud the ADC for the changes it has made in its current
RFP, including a more realistic pricing structure, provisions permitting the
Department and contractor to negotiate amendments if and when there are
material changes in the scope of required staff and/or services, and detailed
staffing information. These changes, in combination with the ADC’s increase
in healthcare staffing levels in the current RFP versus the previous RFP,

were augmented by very helpful site visits attended by our operational and

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 93 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 94 of 135

clinical leaders. We have much greater insight into the staffing needs of each
facility and our proposed staffing pattern for each ASPC is in line with the
ADC’s needs and expectations. The new RFP’s adjustments assure a higher
level of confidence that a successful and commercially viable contract will
result. We believe that our new proposal reflects our higher level of insight
into the ADC today and is more responsive to the ADC’s needs.

286. Our proposal also reflects the changes that Centurion has undergone
since our last submission. These changes have made our organization
stronger and our services more impactful. Previously, Centurion was a joint
venture started in 2011 between MHM Services, Inc. and Centene
Corporation. In April of 2018, Centene purchased MHM to consolidate
MHM’s and Centurion’s correctional lines of business, as well as other non-
correctional lines of business of MHM, under the Centene corporate umbrella.
This transaction ensures the continuing delivery of an innovative approach
that considers national healthcare reforms and views correctional health as
an integral component of public health. As fully integrated within the
Centene corporate structure, Centurion is better able to align its services
with other company resources, including in Arizona where Centene operates
Bridgeway Health Solutions, Allwell, Cenpatico/Arizona Complete Health,
and HealthNet as service agencies providing a wide array of healthcare

services to Arizona residents from children through senior citizens.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 94 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 95 of 135

287. Centurion is pleased to announce the recent award and startup of a
new contract with Pima County, Arizona to provide comprehensive
healthcare services to detainees of the County's adult and juvenile detention
facilities located in Tucson, Arizona. This new, three-year contract, which
started July 1, 2018, requires 108 full-time equivalent employees to work at
the County's detention facilities providing a wide array of medical, dental,
and behavioral health services to the County's daily population of
approximately 1,900.

288. Since our last submission, our parent company, Centene, has
expanded its presence in Arizona. In March 2018, Contene announced that
it will begin offering Ambetter, a Centene health maintenance organization
(HMO) plan, and Cenpatico Integrated Care, a regional behavioral health
authority, in Maricopa and Pima Counties. Ambetter and Cenpatico are now
known as Arizona Complete Health. Their expansion from other southern
counties in Arizona means Centene is now able to offer services in Cochise,
Gila, Graham, Greenlee, La Paz, Maricopa, Pima, Pinal, Santa Cruz, and

Yuma counties as well as on the San Carlos Apache Reservation.

289. Today, our parent company, Centene, currently serves approximately
500,000 Arizona residents with over 2,000 employees and 15 regional offices
in the state and affiliations with a provider network of over 14,000 clinical

professionals and 89 hospitals.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 95 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 96 of 135

290. “The next generation of correctional healthcare...today”

Centurion was formed in 2011 by two of the oldest and most respected
companies in correctional healthcare and Medicaid managed care: MHM
Services, Inc. and Centene Corporation.

291. In developing Centurion, MHM and Centene sought a more innovative
approach that considers national healthcare reforms, viewing correctional
health as an integral component of public health. We brought together the
expertise of MHM, the leader in
providing correctional mental health services, with those of Centene, a
Fortune 100 company and leading provider of managed care services for state
Medicaid programs and other populations. We created a model of
correctional healthcare that combined managed care components developed
and perfected in large state Medicaid programs into the coordination and
management of care for inmate populations. The Centurion model works.
Today, Centurion, combined with our co-founder company MHM, serves over
300,000 inmates in more than 250 facilities nationwide.

292. An important component of this model is our view that correctional
healthcare is an integral component of the overall public health system. We
understand that most inmates enter facilities with undiagnosed and unmet
healthcare needs. For many, their first encounter receiving needed medical,
dental, and mental health services occurs upon entering the system. With

close to 95% of incarcerated individuals eventually returning to the

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 96 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 97 of 135

community, inmate healthcare becomes integral to maintaining the health of
the community. To reduce post-release recidivism for inmates with medical
issues, access to and partnerships within the non-corrections healthcare
system is equally essential.

293. Our experience has shown that the most effective healthcare partner
for any municipality is an organization that understands the important role
that correctional healthcare plays in public health and has worked in and
understands both the corrections and healthcare systems at a local level.
Such an organization can provide the required medical services, while also
utilizing its presence in the community to assist inmates bridge the gap
between the corrections and non-corrections healthcare systems. Centurion
is that company.

294. Most correctional healthcare contractors fail to understand that, for
inmates who will be rapidly returning to the community, having access to,
and partnerships within, the non-corrections healthcare system is essential
to reducing recidivism for inmates with behavioral health and/or medical
needs. The most effective healthcare partner for the ADC is an organization
that understands and has worked in both the corrections and healthcare
systems in the state. Such an organization can provide the required medical
services, while also utilizing its presence to assist inmates bridging the gap

between the corrections and non-corrections healthcare system.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 97 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 98 of 135

295. Centene have long-standing ties and networks of providers and
services across the nation. For example, Cenpatico Integrated
Care, a Centene company, functions as the southern Arizona Regional
Behavioral Health Authority (RBHA) to provide integrated whole person
healthcare services for children and adults with behavioral health services
enrolled with Arizona Health Care Cost Containment System (AHCCCS) and
residing in the southern counties of the state.

296. Centene’s Bridgeway Health Solutions (Bridgeway) provides Medicare
advantage plan services under Allwell from Health Net.

Bridgeway also provided long term care managed health plan services to people

who are enrolled with Arizona Health Care Cost Containment System.

(AHCCCS) from 2006 to 2017.

NAPHCARE FOLLOWS CENTURION USING THE CORIZON MODEL

297. In order to get the Arizona contract Naphcare made the following
representations, same as Corizon, Wexford, Centurion.

298. For more than 30 years, NaphCare has been devoted to partnering
with federal, state and local government agencies to provide proactive,
preventive healthcare to incarcerated individuals across the country. We
welcome the opportunity to bring our partnership, expertise and innovative

solutions to the Arizona Department of Corrections, Rehabilitation and

Reentry (ADCRR).

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-
90086 (CML) Page 98 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 99 of 135

299. We are prepared to partner with the ADCRR in addressing the
challenges ahead. At NaphCare, we consider our clients to be partners.
Through collaborative partnership, mutual trust and transparency, we are
best able to ensure the success of our programs — meaning the success of our
partners. We are confident in our ability to succeed where other contractors
have failed the ADCRR, bringing our incomparable client services and
partnership to you and your residents.

300. We have followed the legal proceedings regarding Jensen v. Shinn,
and we are confident that we can partner with the ADCRR to achieve 100%
compliance with these and any future requirements moving forward. We
have outlined in this proposal how NaphCare’s innovative solutions will help
to improve your success rate in achieving those and any future measures.

301. NaphCare is prepared to partner with ADCRR to achieve your goals
through our proactive, patient-centered approach to health and wellness. We
have proposed for ADCRR a healthcare service delivery plan designed to:

302. NaphCare’s Arizona Footprint

e Maricopa County Correctional Health Services

e Services Provided: TechCare EHR

e ADP: 8,000

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 99 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 100 of 135

e Pima County Dept. of Behavioral Health

e Services Provided: Medical, mental health,
dental, TechCare EHR, third-party
administration

e ADP: 1,900

e Federal Correctional Institution — Phoenix
e Services Provided: Specialty Care and Hospital
e Services, Third-party Administration

e ADP: 1,300

e NaphCare Arizona Corporate HQ*
e Executive, Clinical and Operations Leadership
e Dedicated Arizona Recruiting team

e 12-member STATCare 24/7 telehealth team

303. Based in Phoenix, NaphCare’s Chief Medical Officer, Dr. Jeffrey

Alvarez, will be instrumental in implementing a healthcare program

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 100 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 101 of 135

designed for the ADCRR. Dr. Alvarez serves on the NCCHC Board of
Directors and Accreditation and Standards committee, on which he chaired
the 2018 revision of the NCCHC Standards. As a Physician Surveyor for the
accreditation program, he has audited sites nationwide, including those in
the ADCRR system.

304. Dr. Alvarez will lead a 12-member Arizona-based STATCare team of
licensed providers dedicated to continuously reviewing all ADCRR sites and
working with state compliance monitors to ensure the sites are meeting all
established quality measures.

305. NaphCare Leadership — Dr. Jeffrey Alvarez, Chief Medical Officer

306. NaphCare plans to open an office in Phoenix if awarded the ADCRR
contract. .

307. Established Arizona Network 30+ hospitals in AZ network 250+
Specialty physicians in AZ network 760,000+ Medical records in TechCare for
AZ patients.

308. Choosing NaphCare means a guaranteed level of continuity of care —
more than 72% of commitments to the ADCRR are from Maricopa and Pima
Counties with existing health records within our EHR, TechCare Continuity
of Care with TechCare EHR

309. Existing Interfaces with Arizona State IT Systems Regional

Behavioral Health Authority (RHBA)

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 101 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 102 of 135

310. 156 Current NaphCare employees in AZ 54 New hires to be located in
NaphCare AZ office1,161 FTEs in proposed staffing for ADCRR system

311. NaphCare: Innovating to Improve Lives NaphCare is committed to
advancing correctional healthcare through innovative technology, our
proactive care and wellness model, and evidence-based programs aimed at
preparing patients for successful community re-entry. We understand the
challenges that the ADCRR faces at this time, and we look forward to
bringing our innovative solutions to you.

312. With NaphCare, you'll see innovation in every aspect of our care
delivery — all aimed at improving patient outcomes and preparing residents
for a safe and healthy return to the community to reduce recidivism.

313. As a health services and technology company, we are uniquely
positioned to innovate with ADCRR. With our in-house team of software
engineers and information systems and data-analytics experts, we offer a
multi-disciplinary approach that ensures our technology and services are
designed specifically for the corrections environment.

314. With our expansive network of partnerships spanning local, state and
federal government, NaphCare has a bird’s eye view of the complexities and
distinctive needs of our clients. From innovating models of patient care and
designing custom EHR solutions to developing reliable specialty care and

hospital networks and sophisticated claims management systems —

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 102 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 103 of 135

NaphCare will bring our multi-faceted expertise to ADCRR to develop a
comprehensive solution that meets your goals.

315. As one of the largest correctional healthcare companies in the U.S.,
NaphCare retains a defining characteristic — delivering both the strength and
reliability of a large company and the nimble responsiveness of a small
business. As a family-owned company, NaphCare has never sought the
support of outside investors or private equity — allowing us to maintain our
focus on serving the interests of our patients and clients. While other
companies engage in frequent mergers: and acquisitions, we remain under
consistent leadership with an unwavering mission.

316. Partnering with NaphCare to Achieve ADCRR’s Goals

Optimize Staffing — Retain, Recruit and Train Our goal is to do more than meet

the court’s directives — we aim to significantly improve patient outcomes through

greater access to quality medical and mental health care. To do so, we have
proposed a staffing plan that increases site staff above RFP requirements and
enhances clinical support via NaphCare’s innovative telehealth team,

STATCare.

317. Additional Staffing for _ Improved Outcomes — Many of the current
performance measures can be directly tied to two areas of improvement —
patient access to care and timeliness of the delivery of care. To address both
areas, we believe additional staffing is necessary across the ADCRR system.

We have proposed staffing to elevate direct patient care in areas such as

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 108 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 104 of 135

mental health, addiction treatment, infection control and multiple specialties
to provide onsite clinics.

318. Retain and Retrain Current ADCRR Health Staff — We understand
that the people who will have the best understanding of the ADCRR’s unique
needs and daily operations are the current healthcare staff. By retaining and
retraining these employees, we ensure that continuity of care is maintained
and healthcare quality does not suffer during transition of services. All
retained staff complete Team NaphCare orientation prior to transition to
integrate into The NaphCare Way.

319. Arizona-based Recruiting Team — To meet increased staffing levels and
ensure contract compliance, NaphCare will dedicate two Arizona-based
Recruiters to ADCRR. Due to competition created for nurses by the COVID-
19 pandemic and the nationwide healthcare staffing shortage, everyone is
experiencing a historically challenging recruitment and retention market.
Despite this, we have fared better than our competition by being proactive
and creative in our recruiting programs —including introducing incentive and
bonus pay structures, implementing proactive recruiting strategies,
employing PRN pools and establishing academic partnerships.

320. STATCare 24/7 Telehealth Team STATCare is NaphCare’s innovative
approach to providing 24/7 access to providers via telehealth. For ADCRR, a
dedicated STATCare team of 12 providers — eight (8) medical and four (4)

psychiatric — will be based in our Arizona office to provide an added layer of

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 104 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 105 of 135

quality assurance and clinical support to site teams throughout the state.
With access to patient records in real-time via TechCare, STATCare
providers will be available for patient encounters, as well as peer-to-peer
consults and 24/7 on-call services,ensuring a prescriber is available around-
the-clock.

321. ‘Transparency and Compliance with TechCare HER Our corrections-
specific EHR and medical management system, TechCare, is designed
specifically to provide efficiency, accountability, transparency and consistency
in correctional systems. NaphCare clinicians will document every healthcare
interaction in TechCare, providing the ADCRR with a source of proven
compliance with performance measures to provide for the court. Because
TechCare is a NaphCare product, we are able to customize the system for the
specific performance measures required by ADCRR and provide routine
reports to ADCRR and Court Monitors, proving compliance and quality of
care provided.

322. Compliance Reporting with TechCare — TechCare has a robust
platform for quality charting that ensures detailed logging and
documentation without loopholes, supporting chart audit and litigation
activities seamlessly and instantly. NaphCare has successfully partnered
with clients to comply with and overcome consent decrees, including

collaborating with the Maricopa County Sheriff's Office (AZ) in overcoming a

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 105 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 106 of 135

40-year consent decree. We are currently providing New Hampshire DOC
with specialized reporting to achieve the same results.

323. Our client in Maricopa County, Arizona was under court supervision
since 1977 via the Graves, et al. v. Penzone, et al case. In 2012, the County |
licensed with NaphCare to use TechCare EHR. We customized TechCare to
account for all court-ordered compliance standards and provided iron-clad
documentation of compliance to the court. In 2019, the case was closed in
part due to NaphCare’s ability to provide all required reporting, including
retrospective reporting to prove continued compliance.

324, In New Hampshire, NaphCare currently provides extensive
reporting designed to provide metrics supporting timeliness of
care in compliance with a court order for supervision established 30 years
ago. New Hampshire DOC contracted with NaphCare in 2016 to use
TechCare EHR. We customized provider queues, workflows and
documentation to ensure compliance with court orders.

325. Continuity of Care with TechCare — TechCare is designed to
standardize, automate and track healthcare delivery across complex
correctional systems. Each patient has a single paper-less record in TechCare
that covers all aspects of healthcare while incarcerated that is accessible to
all users. As a cloud-based solution, the complete patient record, including all
treatment planning, follows the patient if transferred within the ADCRR

system to ensure continuity of care.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 106 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 107 of 135

326. Data-driven Decision Making — Guaranteed to be operational on day
one, TechCare will be tailored to the operational workflows and requirements
of the ADCRR’s facilities,
ensuring the capture of meaningful data for better data-based decision-
making and improved patient outcomes.

327. NaphCare’s mission is to improve and save lives. United by this
mission, we work as a team to improve each and every life we touch. Our
integrated approach to healthcare is patient-centered, with the goal of
improving the physical and mental health and wellness of each patient.
Additionally, NaphCare’s policies and procedures are designed to ensure
compliance with all federal, state and local requirements, as well as NCCHC
and ACA standards.

328. Improving Patient Outcomes through Proactive Care — NaphCare
emphasizes the proper identification of medical, mental health and substance
use issues in order to intervene early and establish individualized treatment
plans for timely and appropriate care. Our Proactive Care Model involves a
focused review of each patient’s baseline status, diagnostic and assessment
findings, as well as establishing anticipated needs based on age, gender,
physical and psychosocial status. We apply this model upon reception into the
system. Each patient’s total health is reviewed by a clinician at our first
encounter and integrated medical and mental health treatment is initiated to

minimize adverse outcomes.

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 107 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 108 of 135
|

329. Healthcare within a prison requires long-term strategies to improve
and sustain “whole person” health and wellness. Our clinicians will have the
opportunity to help residents establish long-term wellness habits with the
goal of improving outcomes during incarceration and continuity of care upon
re-entry. For ADCRR residents, NaphCare will implement our targeted
MyCare Wellness Program that emphasizes the importance of treatment
compliance and preventive healthcare through patient education to give
patients more autonomy in their personal care. MyCare is a voluntary,
evidence-based patient program, designed to support positive behavioral
change. MyCare equips individuals with the knowledge and skills needed to
make healthy life choices, which in turn, can reduce emergent healthcare
needs while incarcerated and decrease rates of recidivism and relapse after
release.

330. NaphCare has a 100% success rate in acquiring and maintaining
accreditation. We back this with a commitment to cover the accreditation
fees, including annual recurring dues. Our core policies, procedures and
reports are designed to be consistent with NCCHC standards, and our
electronic health record (KHR) is designed to ensure compliance with NCCHC
and ACA standards.

331. Advanced Onsite Health Services — At NaphCare, we aim to provide
the highest level of patient care onsite to decrease costs associated with

community-based services and custody transport. We monitor and analyze

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 108 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 109 of 135

treatment trends to identify opportunities to bring specialty clinics onsite
when warranted by the volume of patient need. Our goal is to optimize the
use of onsite healthcare facilities to limit disruptions to your daily operations
and officer schedules.

332. Part of our strategy is ensuring that all patients, even those with
barriers related to housing status or communication obstacles, have
consistent access to healthcare services. To connect patients with health
information and education 24/7, NaphCare will create a patient interface
with TechCare on the ADCRR’s tablets distributed to residents and/or
NaphCare-supplied kiosks. Through the portal, patients can submit sick call
requests and grievances, view information related to health requests and

access health and wellness educational resources.

ALLEGATIONS COMMON TO ALL SCHEMES

333. These acts or activities in paragraphs were authorized, requested,
commanded, ratified or recklessly tolerated by the unlawful conduct of the
other. The Directors, higher management, agents performed, authorized,
requested, commanded, ratified, or recklessly tolerated the unlawful conduct
of the agents.

334, When Defendants obtained signatures by deception with the intent to
defraud by knowingly misrepresenting or omitting fact material to the

transaction in the declaration, they committed forgery/

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 109 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 110 of 135

335. When Defendants pursuant to their scheme or artifice to defraud,
knowingly obtained any benefit, by means of false or fraudulent pretenses,
representations, or material omissions, they engaged in conduct that is
fraudulent.

336. As Defendants knew that the assets of the assets of the Correctional
Health enterprise and the Debtor, involved in the financial transactions,
represented some form of unlawful activity, by conducting or attempting to
conduct the financial transactions, which in fact involves some form of
unlawful activity, with the intent to carrying on the unlawful activity.

337. Defendants knowing that the transaction was designed in whole or
part to conceal or disguise the nature or control of proceeds of the specified
unlawful activity, or to avoid the transaction reporting requirements under

state or federal law, partook in the conduct.

THE BANKRUPTCY FRAUD SCHEME BY CORIZON

338. Concealment of assets 18 USC § 152(1), false oaths 18 USC § 152(2),
false declarations or false statements under penalty of perjury 18 USC §
152(3), embezzlement form the estate of the debtor 18SC § 15, money
laundering 18 USC § 1956 are predicate acts cognizable as racketeering
unlawful activity under RICO 18 USC § 1961(1)(A)(B)M) and ARS §

2301.D.4(b)Gv)Iv)(xx)(xv) that make this scheme.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 110 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 111 of 135

339. After Scott King Corizon General Counsel submitted requests for
pandemic related federal funds for all venues that Corizon was operating
under During the period January 2020 through January 2021 Corizon
obtained funds authorized by 12 USC 4708a; 15 USC 636; 15 USC 9001; 15
USC 9009a; 15 USC 9011; 15 USC 9051; 21 USC 21516; 22 USC 4801; 42
USC 234; 42 USC 603; 50 USC 4532; amongst others, for the 25 contracts
cancelled.

340. He submitted reports with false declarations that the funds were used
to pay employees .

341, Corizon sent emails to all management staff upon approval of Sara
Tirschwell directing them, to have employees work at least 16 hours daily,
and if they did work, they should not be paid overtime, and the Managers
shall get bonuses.

342. The emails also informed managers not to have inmates go to hospital,
see specialists, and of hey die, so be it.

343. The Managers implemented the emails and received bonuses.

344. In furtherance of the scheme Sara Tirschwell; Valitas Intermediate
Holdings Incorporated, a Delaware Corporation; M2 HoldCo LLC, a Florida
Limited Liability Co; M2 LoanCo LLC, a Florida Limited Liability Co; M2
EquityCo LLC, a Florida Limited Liability Co; Becken Petty O’Keefe, a

Delaware Corporation, ( hereinafter Valitas Family Of Companies), all

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 111 of 185
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 112 of 135

through mail and emails from and to ch.com determined that Corizon

reorganize in Texas.

' 845. They agreed to form Tehum Care Services Inc aka Corizon a Texas
Corporation; YesCare Corporation, a TexasCorporation and CHS Tex, a
Texas Corpration. Never has Corizon maintained its place of business in
Texas. It has always maintained its principal place of business in Tennessee.
This was all accomplished by emails sent from corizonhealth.com (hereinafter
“ch.com”)

346. They agreed to transfer bulk of the assets to CHS TEX, liabilities to
Yescare and bonds and policies to Tehum. This reorganization was a sham
designed to defraud.

347. They then as planned filed for bankruptcy.

348. The Ankura consulting was hired to conduct due diligence. Russell
Perry of Ankura did not examine the financials as he should have, especially
the use of COVID funds, and any claims against Corizon for spoliation of
evidence.

349. M2 HoldCo LLC, ;M2 LoanCo LLC; M2 EquityCo LLC, agreed to give
Coriozn loans from monies laundered from the assets of Corizon. These were sham

loans.

THE SCHEME TO PERPETATE FRAUD BY DEFENDNTS
350. Mail Fraud 18 USC § 1341, wire fraud 18 USC 1348, Concealment of

assets 18 USC § 152(1), false oaths 18 USC § 152(2), false declarations or

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-

90086 (CML) Page 112 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 113 of 135

false statements under penalty of perjury 18 USC § 152(3), embezzlement
form the estate of the debtor 18SC § 15, money laundering 18 USC § 1956,
fraudulent schemes ARS §13-2310; forgery ARS § 13-2003 Concealment of
assets 18 USC § 152(1), false oaths 18 USC § 152(2), false declarations or
false statements under penalty of perjury 18 USC § 152(8), embezzlement
form the estate of the debtor 18SC § 15, money laundering 18 USC § 1956 are
predicate acts cognizable as racketeering unlawful activity under RICO 18
USC § 1961(1)(A)(B)(D) and ARS § 2301.D.4(b)(v)Iv)(xx)(xv) that make this
scheme.

351. After Scott King Corizon General Counsel submitted requests for
pandemic related federal funds for all venues that Corizon was operating
under During the period January 2020 through January 2021 Corizon |
obtained funds authorized by 12 USC 4703a; 15 USC 636; 15 USC 9001; 15
USC 9009a; 15 USC 9011; 15 USC 9051; 21 USC 21516; 22 USC 4801; 42
USC 234; 42 USC 603; 50 USC 4532; amongst others, for the 25 contracts
cancelled.

352. March 20, 2018 Robert Maldonado from cch.com sent emails that
Corizon had altered the records required to be filed by Parsons.

353. March 20, 2018 Marlene Bedoya from azadc.gov sent emails that
records had been altered by Corizon. These emails were subsequently sent to

Gottfried azag.gov and Struck swfirm.com

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 113 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 114 of 135

354, March 21, 2016 Dr. Rodney Stewart cch.com sent emails to all staff
that they must make sure that the records when submitted pursuant to
Parsons, are reconciled with the medical records, and if necessary the
medical records changed.

355. November 25, 2018 Dr. Rodney Stewart cch.com sent emails to all staff
that they must make sure that the records when submitted pursuant to
Parsons, are reconciled with the medical records, and if necessary the
medical records changed.

356. April 21, 2017 Dr. Michael Minev sent email to Dr. Rodney Stewart
cch.com that he has changed the medical records to comply with the report
submitted pursuant to Parsons, as requested.

357. March 6, 2020 Nichole Culllen sent emails from qpwblaw.com to
Babich and Perkins at cch.com with copies to Gottfried and Carter directing
them not to show me emails hat they send or receive. Copies were sent to
bowwlaw.com Orm@teamcenturion and cch.com

358. March 4, 2014 Joseph Scott Conlon redmlaw. Com sent email to Dr.
Dimitic Catsaros ch.comasking him to sign an affidavit that contradicted the
emails sent by Catsaros when he was with Wexford health July 16,2012
where he was directed by Wexford change my treatment due to the cost.
Catsaros executed the affidavit. These emails were subsequently sent to

Gottfried azag.gov and Struck swfirm.com

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 114 of 185
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 115 of 135

359. July 23, 2013 Dr. Winfred Willliams from ch.com sent directives to all
staff that they are not to provide treatment, referral to specialists and send
inmates to hospitals, due to the cost of treatment. Conlon prepared a
declaration contradicting the emails. These emails were subsequently sent to
Gottfried azag.gov and Struck swfirm.com

360. August 28, 2014 Dr. Winfred Willliams from ch.com sent emails to
staff to ensure that staff change the records to coincide with the reports
submitted under Parsons.. Conlon prepared a declaration contradicting the
emails. These emails were subsequently sent to Gottfried azag.gov and
Struck swfirm.com

361. September 2, 22018 Dr. Lucy Burciaga sent a email to staff to ensure
that staff change the records to coincide with the reports submitted under
Parsons.. Conlon prepared a declaration contradicting the emails. These
emails were subsequently sent to Gottfried azag.gov and Struck swfirm.com

362. NP Unger received a email June 26, 2018 that directed him not to
provide inmates with care that is expensive and not to refer inmates to
specialists.

363. August 3, 2013 Dr. Kevin Lewis sent email to Dr. Joseph Moyse which
directed him not to prescribe inmates medication that is cost prohibitive and

if inmates die, Corizon will take care of it.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 115 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 116 of 135

364, May 6, 2018 Dr. Ayodeji Ladele sent emails to all staff directed not to
prescribe inmates medication that is cost prohibitive or not to refer inmates
for consultation.

365. May 6,.2018 Dr. Ayodeji Ladele sent emails to all staff that they must
change patient records in order to comply with Parsons. Conlon prepared
declarations that contradicted these emals. These emails were subsequently
sent to Gottfried azag.gov and Struck swfirm.com

366. — October 2017 Dr. Fallhouse sent a email to Corizon corporate that he
had delivered the altered reports pursuant to Parsons the ADCRR as directed
by Corizon corporate.

367. December 2017 Dr. Fallhouse sent a email to Corizon corporate that
he had delivered the altered reports pursuant to Parsons the ADCRR as
directed by Corizon corporate.

368. November 2017 Dr. David Robertson sent emails to Dr. Fallhouse that
Corizon was altering reports and must stop. These emails were subsequently
sent to Gottfried azag.gov and Struck swfirm.com

369. April 2017 FHA Porter sent altered reports required by Parsons to
ADCRR and notified Corizon corporate.

370. November 2017 Specer Sego sent Corizon a email that he had changed
the reports that Parson requires to comply with Parsons.

371. November 9, 2007 Aurora Aguilar sent emails to Johnson and Meyers

confirming that Ruobyaines had destroyed my legal materials that I had

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 116 of 1385
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 117 of 135

asked to be copied. She confirmed that Ullibarri had reviewed these, but she
nevertheless shall deny my grievance. These were subsequently forwarded to
Carter and Brodsky.

372. September 9, 2012 Weber Gallagher sent a email to Skelton Hochuli
that no documents adverse to Wexford are to be released to inmates in
discovery.

373. October 6, 2012 Mullenaux of Wexford sent emails to all staff that
inmates are not to be referred to specialists of provided essential treatment
as the costs are exorbitant and Wexford s not getting paid much.

374. January 4, 2013 Mullenaux of Wexford sent emails to all staff that
inmates Wexford staff should not send inmates to hospital and in the event
they die, Wexford will take care of it.

375. January 14, 2013 Weber Gallagher sent a email to Skelton Hochuli
that no policies by Wexford are to be released to inmates in discovery.

376, July 16, 2013 Weber Gallagher sent a email to Skelton Hochuli that
training given to staff are to be released to inmates in discovery..

377. February 3 2013 Mullenaux of Wexford sent emails to all staff that
staff should just change reports required by Parsons to make it look good.

378. May 21, 2018; August 18, 2012 and March 6, 2013 ADCRR
infom=rmed Wexford y emails that Wexford should reexamine the reports as

they appear falsified.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 117 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 118 of 135

THE SCHEME TO PREVENT PRESENTATION OF EVIDENCE BY
DEFENDANTS

379. Retaliation against a witness 18 USC § 1513(e); false oaths 18 USC §
152; false claims 18 USC § 152; documents concealed/altered 18 USC §
1512(b)(1)(2) are predicate acts cognizable as racketeering unlawful activity
under RICO 18 USC § 1961(1)(A)(B)(D) and ARS § 2301.D.4(b)(v)Iv)(xx)(xv)
that make this scheme.

380. Transcripts holding Ryan in contempt show that Magistrate Judge
David Duncan found that Corizon supervisors instructed employees to alter
the electronic records, to reflect inmates were receiving treatment, that they
were not being given. ECF 2898 CIV 12-0601 (USDC ARIZ PARSONS v
RYAN now SHINN v RYAN). This is the regular manner that Corizon
operates in all venues.

381. April 6, 2019 Julia Erwin ADCRR sent emails to Kelly Dudley,
Boschweicz explaining that Ullibarri had seized evidence against
Correctional Health, Attorney general’s Office and ADCRR employees on
CDS. She explained these were sent to Wexford Corizon Centurion corporate
offices and their lawyers, Carter and Gotttfried. She asked Dudley to draft a
response for me.

382. September 38, 1999 Sgt. Donaldson sent email to Daryl Graves stating
she had found nine legal boxes of documents, but they have been removed

from a secure area by staff.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 118 of 135
Case 23-90086 Document505 Filed in TXSB on 05/01/23 Page 119 of 135

383. February 20, 1999 Shelly Sonberg sent a email to Greg Fizer that upon
discussions with Michael Brodskyand Paul Carter the decisions made in my
favor reconstructing the records, were set aside, and I should sue if I wish to.

384. ‘August 31, 1999 Daryl Graves ADOC sent emails to Cindy Neese that
the property and legal materials had been intentionally destroyed upon
orders of central office. Copies were sent to Christopher Copple.

385. May 12 2015 CEO Corizon sent emails to Ryan azadc.gov that in the
event Ryan fails to reduce the penalties imposed on Corzon, it shall move out
of Arizona. These emails were subsequently sent to Gottfried azag.gov and
Struck swfirm.com

386. November 29, 2010 Gene Greeley sent emails to Carter that no matter
what the reason, as T have been challenging the presentation of false
evidence by Attorney general’s Office my diet should be cancelled,

387. December 18, 2006 Aurora Aguilar sent emails to Byron Tucker that
the documents forged at the request of Paul Carter should be labelled
amended.

388. October 6, 2022 Dalia Quintero after reviewing electronic evidence
sent emails that I not be allowed to review the evidence, unless and until the
librarian is present.

389. February 9, 2023 Loresca Purden directed after being told of the
electronic evidence sent emails that I not be allowed to review the evidence,

unless and until the librarian is present.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 119 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 120 of 135

390. November 9, 2007 Aurora Aguilar sent emails to Byron Tucker that
she wanted him to prepare documents that Victor Ruboyanes did not destroy
my documents, in case, I take matter to court.

391. . December 12, Aurora Aguilar directed Byron. Tucker to prepare
documents that Sgt. Lance Uehlling did not ask sin heads to beat me up, just
in case, I take it to court.

392. December 14, 2007 Cheryl Dossett directed Tara Diaz to prepare
documents that I was not sent o segregation, for complaining about the
killing of an inmate, in case, take this to court.

393. June 6, 2017 CEO of Corizon sent emails to Ryan azadc.gov that in the
event Ryan did not increase the fees by 4% Corizon shall move from Arizona.
These emails were subsequently sent to Gottfried azag.gov and Struck
swfirm.com

394, September 28, 2017 Ryan sent emails to CEO Corizon that he was
giving them $2,500,00 as bonus, so they would not cancel the contracts.
These emails were subsequently sent to Gottfried azag.gov and Struck
swfirm.com

395. May 28, 2019 Paul Carter sent a email to Shelby Negron azadc.gov and
asked her to execute a declaration that contradicted emails she sent to and
received from Jose Ramos, Julia Erwin, Betty Ullibarri and Bohuszewicz.

Bohuszewicz. Had directed her to destroy my legal materials, and mail CDS

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 120 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 121 of 135

to Wexford, Corizon, Centurion, and their lawyers. They contemplated the
use of and did use the mail to accomplish this.

396. March 20, 2018 Robert Maldonado from cch.com sent emails that
Corizon had altered the records required to be filed by Parsons.

397. March 20, 2018 Marlene Bedoya from azadc.gov sent emails that
records had been altered by Corizon. These emails were subsequently sent to
Gottfried azag.gov and Struck swfirm.com

398. March 21, 2016 Dr. Rodney Stewart cch.com sent emails to all staff
that they must make sure that the records when submitted pursuant to
Parsons, are reconciled with the medical records, and if necessary the
medical records changed.

399. November 25, 2018 Dr. Rodney Stewart cch.com sent emails to all staff
that they must make sure that the records when submitted pursuant to
Parsons, are reconciled with the medical records, and if necessary the
medical records changed.

400. April 21, 2017 Dr. Michael Minev sent email to Dr. Rodney Stewart
cch.com that he has changed the medical records to comply with the report
submitted pursuant to Parsons, as requested.

401. March 6, 2020 Nichole Culllen sent emails from qpwblaw.com to
Babich and Perkins at cch.com with copies to Gottfried and Carter directing
them not to show me emails hat they send or receive. Copies were sent to

bowwlaw.com Orm@teamcenturion and cch.com

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 121 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 122 of 135

402. March 4, 2014 Joseph Scott Conlon redmlaw. Com sent email to Dr.
Dimitic Catsaros ch.comasking him to sign an affidavit that contradicted the
emails sent by Catsaros when he was with Wexford health July 16,2012
where he was directed by Wexford change my treatment due to the cost.
Catsaros executed the affidavit. These emails were subsequently sent to
Gottfried azag.gov and Struck swfirm.com

403. July 23, 2013 Dr. Winfred Willliams from ch.com sent directives to all
staff that they are not to provide treatment, referral to specialists and send
inmates to hospitals, due to the cost of treatment. Conlon prepared a
declaration contradicting the emails. These emails were subsequently sent to
Gottfried azag.gov and Struck swfirm.com

404. August 28, 2014 Dr. Winfred Willliams from ch.com sent emails to
staff to ensure that staff change the records to coincide with the reports
submitted under Parsons.. Conlon prepared a declaration contradicting the
emails. These emails were subsequently sent to Gottfried -azag.gov and
Struck swfirm.com

405. September 2, 22013 Dr. Lucy Burciaga sent a email to staff to ensure
that staff change the records to coincide with the reports submitted under
Parsons.. Conlon prepared a declaration contradicting the emails. These

emails were subsequently sent to Gottfried azag.gov and Struck swfirm.com

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 122 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 123 of 135

406. NP Unger received a email June 26, 2013 that directed him not to
provide inmates with care that is expensive and not to refer inmates to
specialists.

407. August 3, 2013 Dr. Kevin Lewis sent email to Dr. Joseph Moyse which
directed him not to prescribe inmates medication that is cost prohibitive and
if inmates die, Corizon will take care of it.

408. May 6, 2018 Dr. Ayodeji Ladele sent emails to all staff directed not to
prescribe inmates medication that is cost prohibitive or not to refer inmates
for consultation.

409. May 6, 2018 Dr. Ayodeji Ladele sent emails to all staff that they must
change patient records in order to comply with Parsons. Conlon prepared
declarations that contradicted these emals. These emails were subsequently
sent to Gottfried azag.gov and Struck swfirm.com

410. October 2017 Dr. Fallhouse sent a email to Corizon corporate that he
had delivered the altered reports pursuant to Parsons the ADCRR as directed
by Corizon corporate.

All. December 2017 Dr. Fallhouse sent a email to Corizon corporate that
he had delivered the altered reports pursuant to Parsons the ADCRR as
directed by Corizon corporate.

412. November 2017 Dr. David Robertson sent emails to Dr. Fallhouse that
Corizon was altering reports and must stop. These emails were subsequently

sent to Gottfried azag.gov and Struck swfirm.com

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 128 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 124 of 135

413. April 2017 FHA Porter sent altered reports required by Parsons to
ADCRR and notified Corizon corporate.

414. November 2017 Specer Sego sent Corizon a email that he had changed
the reports that Parson requires to comply with Parsons.

415. November 9, 2007 Aurora Aguilar sent emails to Johnson and Meyers
confirming that Ruobyaines had destroyed my legal materials that I had
asked to be copied. She confirmed that Ullibarri had reviewed these, but she
nevertheless shall deny my grievance. These were subsequently forwarded to
Carter and Brodsky

416. Defendants , implemented these directives, pursuant to cooperation
agreements and continued with the scheme. They gave tacit authorization
to the misconduct and failed to take remedial actions, when informed,
thereby causing the misconduct.

THE PRACTICES OF LIABILITY INSURERS

A417. Liability Insurers for Defendants are aware of these practices that I
set forth in this complaint, and have failed to take actions, mandated by their
policies. They have provided performance bonds and liability insurance, have
breached the covenant of good faith and fair dealing, fiduciary duty, and
engaged in bad faith settlement practices. Liability Insurers have put in
place the practice, in violation of law, which forces litigation, in prisoner

cases, as In this case.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 124 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 125 of 135

418. By omission Liability Insurers have misrepresented facts and
policy provisions. They have failed to, as mandated by law, in prisoner cases,
to acknowledge and promptly act on all claims. Liability Insurers fail to
follow reasonable standards, standards followed by the insurance community
in all cases, for investigation of claims. Liability Insurers deny claims
without reasonable investigation.

419. Liability Insurers compel prisoners to litigate issues, and fail to follow
their own rules and regulations, internal policies and guidelines.

420. Liability Insurers are required to investigate facts and the law, as if
there were no policy limits.

421. In prisoner cases, , these Liability Insurers aided and abetted in
the prefabrication of defenses and bad faith use of procedural devices, as set

forth in the complaint.

THE PATTERN OF RACKETEERING ACTIVITY

422. During the relevant times, the Defendants and participants
(hereinafter “Defendants”) conspired with one another to defraud me,
Correctional Health and others. As part of their scheme or artifice to defraud
Defendants diverted these funds by corrupting their chief financial officers,
and through such corruption gained their assistance to perpetrate the fraud.
The did this to the detriment of Corizon, Wexford, Centurion, Naphcare and
myself, and they had no right to these funds. The multifarious racketeering

activities unlawful activities through which these broad objectives of the

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 125 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 126 of 135

Defendants and participants were carried out consisted of a complex pattern
of individual transactions and group of transactions.

423. It was a part of the scheme that Defendants and others would and did
agree to conspire together with the others to devise and participate in a plan
of deceit and deception, whereby they would and did abuse their positions of
trust and fiduciary relationships with the Corrections Health enterprise.

424, Defendants and participants did and would abuse the discretion
granted to them, and did breach their obligations of loyalty and fidelity and
their duty to act honestly and faithfully in the best interests of Corrections
Health and not for their own self interests. They would and did use false and
fraudulent pretenses , representations, and promises calculated to deceive
persons of ordinary prudence and care, and make material non disclosures,
and concealment if fact and important to Correctional Health in deciding
whether to act in the conduct of its affairs, all so as to unlawfully,
intentionally and willfully and with the intent to defraud, that is, knowingly
and with the specific intent to deceive, in order to get financial gain to
themselves, procure secret profits, and divert the assets of Correctional
Health to the use and detriment of Correctional Health, me and others.

425. That scheme to defraud evolved over time as a pattern of unlawful
racketeering activities and inflicted distinct harm on e and others.

A26. In carrying out the transactions to defraud Correctional Health

Defendants engaged in, inter alia, conduct that violates federal and state law.

ADVERSARY COMPLAINT TRIPATI vy TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 126 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 127 of 135

427. Defendants authorized, requested, commanded, ratified recklessly
tolerated the unlawful conduct of the other. The directors, high management,
agents, performed, authorized, requested, commanded, ratified or recklessly
tolerated the unlawful conduct as proscribed by ARS 13-2314.04.E and 13-
2301.D.9

428. These acts are related to each other, or to a common external
organizing principle, including the affairs of the Correctional Health
‘enterprise. They have same or similar purposes, results, participants, or
victims, or methods of commission, or are otherwise interrelated by
distinguishing characteristics. They are continuous, or exhibit the threat of
being continuous.

429. These acts or activities were authorized, requested, commanded,
ratified or recklessly tolerated by the unlawful or racketeering conduct of the
other. The directors, higher management, agents performed, authorized,
requested, commanded, ratified or recklessly tolerated the unlawful conduct
of the agents.

430. When Defendants obtained signatures by deception with the intent to
defraud by knowingly misrepresenting or mitting fact material to the |
transactions in the declaration(s), they committed forgery proscribed and
prohibited by ARS 13-2005.A, as set forth in the unlawful conduct predicate
acts. The actual intent was to obstruct justice, in a manner that is likely to

obstruct justice, interfere with the administration of justice, with specific

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 127 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 128 of 135

intent to corruptly influence, obstruct or impede justice, or the due

administration of justice.

FIRST CLAIM FOR RELIEF
Violation of 18 USC 1962(c); ARS 13-2314.04

431. Tripati here repeats the allegations in paragraphs 1 through 430.

432. Defendants, and each of them are persons within the meaning of 18
USC 1961(8), 1964(c), ARS 105.30, capable of holding legal and or beneficial
interesting property.

433. Correctional Health is an associated in fact enterprise within the
meaning of 18 USC 1961(4); 1962); ARS 105.17; 13-2314.04, which
enterprise was engaged in and the activities of which affect interstate
commerce, during all relevant times.

434, Defendants are each employed by or associated with an enterprise, the
Correctional Health enterprise, and did conduct or participate, directly or
indirectly, in the conduct of the affairs of the Correctional Health enterprise,
through a pattern of unlawful racketeering activity within the meaning of 18
USC 1961(1)(B), 1962(D), 1961(5), 1962(c), ARS 13-2314.04

435. Defendants aided and abetted , and solicited each other to conspire, or
attempt to violate 18 USC 1962(d), ARS 23-1002.A.C to violate 18 USC
1964(c), ARS 13-2314.04, as proscribed by ARS 13-1001.A; 1002.A

436. By reason of the violation of 18 USC 1962(d), ARS 13-23814.04, by

Defendants I have been injured in an as yet undetermined amount, believed

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 128 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 129 of 135

to be not less than approximately $30,000,000 within the meaning of 18 USC
1964(c) and ARS 138-2314.04

437. During all times the enterprise Correctional Health, made of Valitas
Intermediate Holdings Incorporated, a Delaware Corporation; M2 HoldCo
LLC, a Florida Limited Liability Co; M2 LoanCo LLC, a Florida Limited
Liability Co; M2 EquityCo LLC, a Florida Limited Liability Co; Becken
Petty O’Keefe, a Delaware Corporation and Liability Insurers, was
engaged in interstate commerce, in that the enterprise acquired, financed
Corizon’s services all around the nation.

438. As Defendants knew that the assets of the correctional health
enterprise and Debtor, involved in the financial transactions, represented
some form of unlawful activity, by conducing or attempting to conduct the
financial transactions, which I fact involves some form of unlawful activity,
as set forth in the complaint, with the intent to carrying on the unlawful
activity, they engaged in conduct proscribed by 18 USC 1956(a)(A)i(1)

439. By knowingly that the transaction was designed in whole or part to
conceal or disguise the nature or control of proceeds of the specified unlawful
activity, or to avoid the transaction reporting requirements under state and
federal law, Defendants engaged in conduct proscribed b 18 USC
1956a(B)(1)dD

440. Defendants maintained illegal control of the Correctional Heath

enterprise when they, through racketeering unlawful acts activities, or its

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 129 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 130 of 135

proceeds, acquired or maintained, by investment or otherwise, control of the
Correctional Health enterprise. Defendants conducted illegally conducting an
enterprise, when they, employed by or associated with Correctional Health
enterprise,, conducted its affairs through racketeering unlawful acts
activities, or participated directly and or indirectly, in the conduct of the
affairs of the Correctional Health enterprise, with knowledge that it is
conducted through racketeering unlawful acts activities, proscribed by ARS
13-2312.A.B

441. Tripati has sustained reasonably foreseeable injury to his person,
property by a pattern of racketeering activities or acts by violation of ARS 13-
2312 involving a pattern of racketeering or unlawful activities.

442. Defendants are each employed biro associated with an enterprise, the
Correctional Health enterprise, and did conduct or participate, directly or
indirectly, in the conduct of the affairs of the Correctional Health enterprise,
through a pattern of unlawful racketeering activity within the meaning of 18
USC 1961(1)(B), 1962(D), 1961(5), 1962(c), ARS 13-2314.04.

443. Defendants Corizon, Wexford, Centurion, Naphcare, Shinn, Ryan
entered into cooperation agreements with each other thereby were each by
virtue of these cooperation agreements, employed by or associated with an
enterprise, the Correction Health enterprise, and did conduct or participate,
directly or indirectly, in the conduct of the affairs of the correctional Health

enterprise, through a pattern of unlawful racketeering activity within the

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 130 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 131 of 135

meaning of 18 USC 1961(1)(B), 1962€, 1961(5), 1962(c), ARS 13-2314.04, ARS
13-2301.D.1

444. By reason of the violation of 18 USC 1962©, ARS 13-2314.04 by Defendants,
and each of them, Tripati and Correctional Health has been injured in an yet

undetermined amount, believed to be no less than $30,000,000 within the meaning of 18

USC 1964(c) and ARS 13-2314.04

SECOND CLAIM FOR RELIEF

Violation of 18 USC 1962(d); ARS 13-2314.04 by Conspiracy to Violate 18 USC 1962(c) and
ARS 13-2314.04

445. Tripati here repeats the allegations in paragraphs | through 444.
446. Defendants, and each of them are persons within the meaning of 18 USC 1961(3),
' 1964(c), ARS 105.30, capable of holding legal and or beneficial interesting property.

447. Correctional Health is an associated in fact enterprise within the meaning of 18
USC 1961(4); 1962(c); ARS 105.17; 13-2314.04, which enterprise was engaged in and
the activities of which affect interstate commerce, during all relevant times.

448. Defendants Corizon, Wexford, Centurion, Naphcare, Shinn, Ryan entered into
cooperation agreements with each other thereby were each by virtue of these cooperation
agreements, employed by or associated with an enterprise, the Correction Health
enterprise, and did conduct or participate, directly or indirectly, in the conduct of the
affairs of the correctional Health enterprise, through a pattern of unlawful racketeering
activity within the meaning of 18 USC 1961(1)(B), 1962€, 1961(5), 1962(c), ARS 13-

2314.04, ARS 13-2301.D.1

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 28-
90086 (CML) Page 181 of 135
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 132 of 135

449, Defendants are each employed by or associated with an enterprise, the
Correctional Health enterprise, conspired within the meaning of 18 USC 1962(d), ARS
13-1003.A to violate 18 USC 1964(c), ARS 13-2314.04 that is, said Defendants did
conspire, directly or indirectly, in the conduct of the affairs of the Correctional Health
enterprise, through a pattern of unlawful racketeering activity within the meaning of 18
USC 1961(1)(B), 1962(D), 1961(5), 1962(c), ARS 13-2314.04

450. Defendants maintained illegal control of the Correctional Health enterprise when
they, through racketeering unlawful acts activities, or its proceeds, acquired or
maintained, by investment or otherwise, control of the Correctional Health enterprise.

45 1. Defendants conducted illegally conducting an enterprise, when they, employed by
or associated with Correctional Health with Correctional Health enterprise, conducted its
affairs through racketeering unlawful acts activities proscribed by ARS 13-2312.A.B

452. Defendants aided and abetted , and solicited each other to conspire, or attempt to
violate 18 USC 1962(d), ARS 23-1002.A.C to violate 18 USC 1964(c), ARS 13-2314.04,
as proscribed by ARS 13-1001.A; 1002.A

453. During all times the enterprise Correctional Health, made of Valitas Intermediate
Holdings Incorporated, a Delaware Corporation; M2 HoldCo LLC, a Florida Limited
Liability Co; M2 LoanCo LLC, a Florida Limited Liability Co; M2 EquityCo LLC, a
Florida Limited Liability Co; Becken Petty O’Keefe, a Delaware Corporation and
Liability Insurers, was engaged in interstate commerce, in that the enterprise acquired,
financed Corizon’s services all around the nation.

454. As Defendants knew that the assets of the correctional health enterprise and

Debtor, involved in the financial transactions, represented some form of unlawful

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-
90086 (CML) Page 132 of 185
Case 23-90086 Document 505. Filed in TXSB on 05/01/23 Page 133 of 135

activity, by conducing or attempting to conduct the financial transactions, which I fact
involves some form of unlawful activity, as set forth in the complaint, with the intent to
carrying on the unlawful activity, they engaged in conduct proscribed by 18 USC
1956(a)(A)i(1)

455. By knowingly that the transaction was designed in whole or part to conceal or
disguise the nature or control of proceeds of the specified unlawful activity, or to avoid
the transaction reporting requirements under state and federal law, Defendants engaged in
conduct proscribed b 18 USC 1956a(B)(1)dD

456. Tripati has sustained reasonably foreseeable injury to his person, property by a
pattern of racketeering activities or acts by violation of ARS 13-2312 involving a pattern
of racketeering or unlawful activities.

457. By reason of the violation of 18 USC 1962(c), ARS 13-2314.04 by Defendants,
and each of them, Tripati and Correctional Health has been injured in an yet
undetermined amount, believed to be no less than $30,000,000 within the meaning of 18
USC 1964(c) and ARS 13-2314.04

458. By reason of the violation of 18 USC 1962(d), ARS 13-2314.04, by Defendants I
have been injured in an as yet undetermined amount, believed to be not less than

approximately $30,000,000 within the meaning of 18 USC 1964(c) and ARS 13-2314.04

PRAYER FOR RELIEF

1. As a consequence of the spoliation of evidence, my claims in CIV 11-0195; 18-00666;
13-0140; 13-0615; in District of Arizona were not decided with all the evidence.

2. Iask that judgment be entered against Defendants , jointly and severally, and in my favor.

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 23-

90086 (CML) Page 1338 of 1385
Case 23-90086 Document 505 Filed in TXSB on 05/01/23 Page 134 of 135

3. I ask that damages be awarded in an undetermined amount, no less than $30,000,000
upon the first claim for relief for violation of 18 USC 1962(c), and the sum trebled for
violation of 18 USC 1964(c).

4. I ask that damages be awarded in an undetermined amount, no less than $30,000,000
upon the first claim for relief for violation of ARS 13-2314.04 , and the sum trebled for
violation of ARS 13-2314.04.

5. I ask that damages be awarded in an undetermined amount, no less than $30,000,000
upon the second claim for relief for violation of 18 USC 1962(d), and the sum trebled for
violation of 18 USC 1964(c).

6. I ask that damages be awarded in an undetermined amount, no less than $30,000,000
upon the second claim for relief for violation of ARS 13-2314.04 , and the sum trebled
for violation of ARS 13-2314.04.

7. Iam asking that these Chapter 11 proceedings be dismissed, actual and punitive damages,
treble damages be awarded, constructive trust with tracing be appointed, equitable liens
be placed, fraudulent transfers be nullified, restrictions on future conduct be imposed,
relief be afforded for fraudulent conveyance, fraud, deceit, accounting, a jury trial, costs,
fees and other relief be awarded.

8. I ask that employees who were deprived the fund for pandemic relief be
awarded those funds.

Respectfully submitted this 30 day of April 2023 and sworn under the
penalty of perjury as being true and correct.

_—

ANANT KU TRIP. 102081
Post Office B , Yuma, AZ 85349
ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC No: 238-
90086 (CML) Page 134 of 135

Case 23-90086 Document 505

Proof of service

Copies mailed to

Jason 8. Brookner, Esq
Gray Reed & McGraw LLP
1601 Elm Street # 4600
Dallas, Texas 75201

ADVERSARY COMPLAINT TRIPATI v TEHUM CARE SERVICES INC

90086 (CML) Page 135 of 135

Filed in TXSB on 05/01/23 Page 135 of 135

No: 23-
